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 6                           UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 8
      Jennifer Wysocki, Andrew Sidhu, Betsy Kellogg   Case No.: 3:22-cv-05453
 9    and Keisha Flemister, Individually and on
      Behalf of All Others Similarly Situated,
10
                                 Plaintiffs,          SECOND AMENDED CLASS ACTION
11
                                                      COMPLAINT
             v.
12
      ZOOMINFO TECHNOLOGIES INC.,
13    ZOOMINFO TECHNOLOGIES LLC,                      DEMAND FOR JURY TRIAL
      ZOOMINFO HOLDINGS LLC, and
14    ZOOMINFO INTERMEDIATE INC.
15                               Defendants.
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28   SECOND AMENDED CLASS ACTION COMPLAINT
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 1          Plaintiffs Jennifer Wysocki, Andrew Sidhu, Betsy Kellogg and Keisha Flemister (“Plaintiffs”)

 2 complain upon knowledge as to themselves and their own actions and upon information and belief as

 3 to all other matters against defendants ZoomInfo Technologies Inc., ZoomInfo Technologies LLC,

 4 ZoomInfo Holdings LLC, and ZoomInfo Intermediate Inc. (the “Defendants” or “ZoomInfo”), as

 5 follows:

 6     I.   SUMMARY OF ALLEGATIONS

 7          1.     This action arises from Defendants’: (i) unlawful and intentional interception,
 8 accessing, viewing, reading, and/or scanning of individuals’ personal information contained within
 9
   their electronic communications without their knowledge or consent; (ii) subsequent unauthorized
10
   use, disclosure, dissemination, and/or sale of those electronic communications to third parties,
11
   including marketers, recruiters, and advertisers, from approximately August 2010 to the present (the
12
   “Class Period”) in violation of federal and state law; and (iii) false and deceptive representations –
13
   i.e., that ZoomInfo does not access, view, read, or scan personal information contained in users’
14
   electronic communications.
15
            2.     Plaintiffs, on behalf of themselves and similarly situated subscribers to the
16
   Community Edition service (the “Community Edition Program”) offered by ZoomInfo
17
   (“Subscribers”) and other third parties who are not subscribers to any of ZoomInfo’s products and
18
   services and whose personal information was taken (“Non-Subscribers”) bring this suit under the
19 Federal Wiretap Act (“Wiretap Act”), 18 U.S.C. § 2510, et seq.; Stored Communications Act 18

20 U.S.C. § 2701 et seq., California Invasion of Privacy Act (“CIPA”), CAL. PENAL CODE § 630 et seq.;

21 California common law intrusion upon seclusion; invasion of privacy under Art. I, Sec. 1 of the

22 California Constitution; the California Unfair Competition Law (“UCL”), CAL. BUS. & PROF. CODE

23 §17200; Florida’s Deceptive And Unfair Trade Practices Act (“FDUTPA”), FLA. STAT. § 501.201,

24 et seq.; N.Y. GEN. BUS. LAW §§ 349 & 350; Illinois Consumer Fraud and Deceptive Business

25 Practices Act, 815 ILL. COMP. STAT. ANN. §§ 505 et seq.; Washington’s Consumer Protection Act

26 (“WCPA”), WASH. REV. CODE §§ 19.86, et seq.; Washington Wiretapping Statute, WASH. REV.

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 1 CODE § 9.73.030; breach of contract under Washington law; Connecticut’s Unfair Trade Practices

 2 Act (“CUTPA”), CONN. GEN. STAT. § 42-110a et seq.; Georgia’s Uniform Deceptive and Unfair

 3 Trade Practices Act (“Georgia UDUTPA”), O.C.G.A. § 10-1-370 et seq.; for declaratory and other

 4 equitable relief under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq.

 5          3.     ZoomInfo is an American company that offers for sale access to its proprietary

 6 database of information and analytic tools. According to ZoomInfo’s regulatory filings, ZoomInfo’s

 7 database contains intelligence about business entities and individuals, including personnel moves,

 8 organizational charts, intent signals, decision-maker contact information, hierarchy information and
 9 other financial details. ZoomInfo claims that its database contains more than 50 million contact

10 details, which are updated daily by artificial intelligence, as well as a team of over 300 ZoomInfo’s

11 human researchers and analysts.

12          4.     Users can access ZoomInfo’s database either through a paid subscription or via
13 ZoomInfo’s Community Edition Program that comes free of charge. In order to obtain access to

14 ZoomInfo’s free Community Edition Program, users must agree to give ZoomInfo permission to

15 access their incoming and outgoing emails, from which ZoomInfo purportedly extracts only certain

16 “business information,” such as business contacts and company names, to include in its proprietary

17 database. Thus, ZoomInfo provides users with free access to ZoomInfo’s database in exchange for

18 what ZoomInfo claims to be “business information” extracted from users’ emails, including

19 incoming emails from Non-Subscriber Class members who did not subscribe, contract, or otherwise

20 consent to ZoomInfo’s practices.

21          5.     Plaintiffs Wysocki and Sidhu have not subscribed to the Community Edition

22 Program and have not downloaded the Contact Contributor software or otherwise provided access

23 to their emails. Plaintiffs were surprised to see their information displayed on ZoomInfo. In fact,

24 Plaintiff Wysocki’s full name, her title, years of experience, and other employment information,

25 including the names of her work colleagues, geographical information, are all included in

26 ZoomInfo’s database. Similarly, Plaintiff Sidhu’s full name, employment history, names of his work

27 colleagues, geographical information are available on ZoomInfo’s platform. ZoomInfo also

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 1 advertises that Plaintiffs’ contact information, including their mobile number, is available to

 2 ZoomInfo’s subscribers. Plaintiffs had no knowledge and did not consent or receive any notice from

 3 ZoomInfo that their information is being publicly disclosed, shared, sold, and/or otherwise used by

 4 ZoomInfo. Moreover, Plaintiff Sidhu has repeatedly tried to delete his information from ZoomInfo’s

 5 platform but has been unable to do so despite his many attempts.

 6          6.     Plaintiff Flemister is a published writer and owns a writing business in Georgia under

 7 the name of “Mirror Life Writings, Inc.” Plaintiff Flemister has not subscribed to the Community

 8 Edition Program and has not downloaded the Contact Contributor software or otherwise provided
 9 access to her emails, but her information is displayed on ZoomInfo. Plaintiff Flemister had no

10 knowledge and did not consent or receive any notice from ZoomInfo that her information is being

11 publicly disclosed, shared, sold, and/or otherwise used by ZoomInfo.

12          7.     Worse, ZoomInfo has misleadingly connected her business to a weblink,
13 “www.mirrorlife.com” which is not related to her business, and instead, links to a porn website.

14 ZoomInfo’s database displays Plaintiff Flemister’s jointly owned residential address as the

15 headquarters for “mirrorlife,” a pornographic business. When Plaintiff Flemister discovered her

16 business profile on ZoomInfo contains incorrect and damaging information, she promptly contacted

17 ZoomInfo representatives, but the incorrect information continues to be a part of ZoomInfo’s

18 database and is causing her embarrassment and loss of reputation and business.

19          8.     Plaintiff Kellogg is a subscriber of ZoomInfo. At the time she signed up with

20 ZoomInfo, Plaintiff Kellogg was unaware that ZoomInfo views, reads, and/or scans as well as

21 discloses, disseminates, sells, and otherwise use of the contents of her electronic communications,

22 including her communication with third parties and Non-Subscribers.

23          9.     Federal and state privacy laws uniformly recognize individuals’ reasonable

24 expectations of privacy in confidential communications, particularly those that take place via private

25 channels, such as electronic email communications. Federal and state privacy laws prohibit

26 unauthorized interception, viewing, reading, and/or scanning as well as disclosure, dissemination,

27 sale, and other use of the contents of electronic communications. California specifically recognizes

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 1 privacy as a fundamental right, and accordingly, California law prohibits, among other things,

 2 recording, and sharing of confidential communications without the consent of all parties to the

 3 communication. Other states’ laws similarly recognize individuals’ privacy in electronic

 4 communications, including private email correspondence and personal information contained

 5 therein.

 6          10.    Well aware of consumers’ legitimate and reasonable expectations of privacy,

 7 ZoomInfo seeks to create the impression that it respects individuals’ privacy. To that effect,

 8 ZoomInfo’s Community Edition Terms of Use (“Terms of Use”) and Privacy Policy purport to
 9 explain to users what information ZoomInfo views, reads, and captures after users subscribe to its

10 free Community Edition Program. The Privacy Policy gives several explicit assurances that

11 ZoomInfo does not view or read users’ email content and that it only extracts “business

12 information,” such as signature blocks within email messages and certain “business information”

13 found in email headers. Similarly, ZoomInfo’s Terms of Use guarantee that “no human being reads”

14 users’ emails as a result of users’ participation in the Community Edition Program and that only

15 “business information” is extracted by ZoomInfo.

16          11.    Notwithstanding these express and implied representations, ZoomInfo intercepts,
17 views, reads, and accesses users’ electronic email communications, and subsequently discloses,

18 disseminates, sells, and otherwise uses individual personal information that ZoomInfo scraped off

19 their email correspondence without their knowledge or consent. ZoomInfo fails to inform

20 individuals — including unsuspecting Non-Subscribers who never subscribed or interacted with

21 ZoomInfo and have no way of knowing of, let alone consenting to, ZoomInfo’s interception — that

22 ZoomInfo accesses and views the entirety of individuals’ incoming and outgoing communications

23 in its quest for relevant data to extract and include in its database. Further, ZoomInfo fails to

24 meaningfully disclose that it uses hundreds of human researchers and analysts to cleanse, organize,

25 and verify personal information that ZoomInfo collected from Subscribers’ and Non-Subscribers’

26 email communications, which it then sells to third parties, such as marketers, recruiters, and

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 1 advertisers. Each such interception and disclosure constitute an egregious breach of social privacy

 2 norms and is a violation of federal and state law.

 3          12.    ZoomInfo knows it lacks consent to view, read, capture, disclose, and otherwise use

 4 individuals’ electronic communications therein. Upon information and belief, after extracting

 5 unsuspecting third parties’ information from their email communication, ZoomInfo sends them a

 6 self-inculpatory notice (the “Privacy Notice”), informing them of the “collection, processing, and

 7 sale of certain personal information or personal data” about them. To create an impression of

 8 legitimacy, ZoomInfo informs the individuals whose personal information it has taken, that
 9 ZoomInfo’s “Legal Basis” for the “processing of [their] personal information is based on the

10 “legitimate interest of itself and its customers to engage in direct marketing.”

11          13.    Moreover, ZoomInfo’s Privacy Notice is sent from such a domain name that it is
12 most likely to be flagged as spam and/or automatically blocked by majority of email services.

13 According to an email optimization platform test done by Wolfpack Research, ZoomInfo’s Privacy

14 Notice reaches the inbox of only a fragment of recipients. This is because, as the Wolfpack Research

15 Report1 revealed, ZoomInfo’s Privacy Notice is sent from a different domain than its main domain,

16 which has a much higher rate of reaching individuals’ inboxes. This is a strategic move by ZoomInfo

17 to purportedly comply with the requirements of General Data Protection Regulation (GDPR) and/or

18 other privacy statutes yet never truly achieve their seemingly desired goal of “informing” individuals

19 of ZoomInfo’s capturing of their information.

20          14.    To be sure, ZoomInfo possesses the technological wherewithal to ensure that its

21 Privacy Notice reaches the intended recipients. ZoomInfo utilizes sophisticated Search Engine

22 Optimization that ensures that ZoomInfo-owned websites occupy several first search results pages

23 on Google and that Google search engine yields predominantly displayed content published by

24 ZoomInfo. It is only when ZoomInfo sends out Privacy Notices that they fail to reach the majority

25 of the intended readers.

26   1
      ZI Employee Reveals that the Secret Sauce Is CEO’s College Roommate, available at
27 https://wolfpackresearch.com/research/zoom/ (last visited June 21, 2022)

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 1             15.   ZoomInfo’s violations are deliberate and calculated to increase revenues for

 2 ZoomInfo. ZoomInfo profits from the invasion of privacy by using Subscribers’ and Non-

 3 Subscribers’ personal information without consent or authorization to improve its database to make

 4 its platform more attractive to paying customers, such as marketers, recruiters, and advertisers.

 5 ZoomInfo monetizes its platform via paid subscriptions to more than 20,000 customers, of which

 6 over 1,500 have an annual contract value over $100,000. In short, ZoomInfo intentionally, willfully,

 7 and knowingly violated and continues to violate Plaintiffs’ and Class Members’ privacy rights for

 8 profit.
 9
       II.     JURISDICTION AND VENUE
10
               16.   This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.
11
     § 1332(d) (the Class Action Fairness Act (“CAFA”)), because: (i) at least one Plaintiff is a citizen
12
     of a different state than the Defendants; (ii) the amount in controversy exceeds $5,000,000; and (iii)
13
     there are at least 100 individuals in the putative class that Plaintiffs seek to represent through this
14
     action.
15
               17.   This Court also has jurisdiction over the subject matter of this action pursuant to 28
16
     U.S.C. § 1331 since this suit is brought under a federal statute. This Court may exercise
17
     supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over the remaining state common law and
18
     statutory claims as these state law claims are part of the same case or controversy as the federal
19
     statutory claims over which the Court has original jurisdiction.
20
               18.   This Court has personal jurisdiction over Defendants because their principal place of
21
     business is in the State of Washington. Additionally, the injuries, damages, and/or harm upon which
22
     this action is based occurred or arose out of activities engaged in by Defendants within, affecting,
23
     and emanating from the State of Washington. Defendants regularly conduct and/or solicit business
24
     in, engage in other persistent courses of conduct in, and/or derives substantial revenue from products
25
     provided to persons in the State of Washington. ZoomInfo has engaged, and continues to engage, in
26
     substantial and continuous business practices in the State of Washington. Moreover, ZoomInfo’s
27

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 1 Terms of Use provide that: “[T]hese Terms are governed by the laws of the United States of America

 2 and the State of Washington and any action or proceeding (including those arising from non-

 3 contractual disputes or claims) related to these Terms will be brought in a state or federal court in

 4 the State of Washington.”

 5           19.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a substantial

 6 portion of the conduct described in this Complaint was carried out in this District. Furthermore,

 7 Defendants are headquartered in this District and subject to personal jurisdiction in this District.

 8    III.   PARTIES
 9           A. PLAINTIFFS
10           20.   Plaintiff Wysocki is a natural person and citizen of the State of Connecticut. Plaintiff
11 is an attorney and has a heightened privacy interest in her emails. Plaintiff used both Outlook and

12 Gmail during the class period. Plaintiff regularly uses her email for work and the contents of her

13 emails are privileged and confidential, protected by attorney-client privilege or work-product

14 doctrine. Plaintiff has not subscribed to ZoomInfo’s services, including the Community Edition

15 Program, and has not purchased any of ZoomInfo’s paid products or services. Despite not

16 subscribing to ZoomInfo and any of their services, Plaintiff’s information including her full name,

17 her place of employment, her position, years of experience, and geographical location is available

18 on ZoomInfo. ZoomInfo also makes her contact information available to ZoomInfo subscribers,

19 even including her mobile number, which she does not use for her work and is not “Business

20 Information.” Plaintiff had no knowledge of ZoomInfo’s collection of her personal information or

21 of any potential viewing, sharing, selling, replicating, or otherwise using of her personal

22 information, nor did she consent to any of these practices.

23           21.   Plaintiff Sidhu is a natural person and citizen of the State of Connecticut. Plaintiff
24 has not subscribed to ZoomInfo’s services, including the Community Edition Program, and has not

25 purchased any of ZoomInfo’s paid products or services. Despite not subscribing to ZoomInfo or any

26 of their services, Plaintiff Sidhu’s information including his full name, his employment history, his

27

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 1 position, years of experience, and geographical location is available on ZoomInfo. ZoomInfo also

 2 makes his contact information available to ZoomInfo subscribers, even including his mobile

 3 number. Plaintiff had no knowledge of ZoomInfo’s collection of his personal information or of any

 4 potential viewing, sharing, selling, replicating, or otherwise using of his personal information, nor

 5 did he consent to any of these practices. Plaintiff requested that ZoomInfo delete his information

 6 from their database to no avail, as his information reappeared on their platform within just a few

 7 days of his request.

 8          22.    Plaintiff Kellogg is a natural person and citizen of the State of California. Plaintiff is
 9 a subscriber of ZoomInfo. At the time she signed up, Plaintiff Kellogg was unaware that ZoomInfo

10 views, reads, scans her incoming and outgoing email communications, including the message

11 contents to collect her personal information and of other third parties.

12          23.    Plaintiff Flemister is a natural person and citizen of the State of Georgia. Plaintiff
13 has not subscribed to ZoomInfo’s services, including the Community Edition Program, and has not

14 purchased any of ZoomInfo’s paid products or services. Despite not subscribing to ZoomInfo or any

15 of their services, Plaintiffs’ business’ “Mirror Life Writings, Inc.” appears on ZoomInfo’s platform.

16 What is even worse that the information displayed is extremely damaging as it incorrectly links

17 Plaintiff Flemister’s business to a weblink associated with a porn website (www.mirrorlife.com)

18 which is similarly named as her business. This mistake has caused and has the potential to cause

19 Plaintiff Flemister serious damage to her reputation, embarrassment, and loss of business. Recently,

20 Plaintiff Flemister discovered that ZoomInfo publicly displays her jointly owned residential address

21 as the headquarters address of the porn business “mirrorlife.com.” This mistake is causing even

22 further damage to Plaintiffs’ reputation and damaging the reputation and value of her property,

23 including her business. Plaintiff had no knowledge of ZoomInfo’s collection of her personal

24 information or of any potential viewing, sharing, selling, replicating, or otherwise using of her

25 personal information, nor did she consent to any of these practices. Plaintiff requested that ZoomInfo

26 delete her information from its database to no avail, as her incorrect information reappeared on its

27 platform within just a few days of his request.

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            B. DEFENDANTS
 1
            24.    Defendant ZoomInfo Technologies, Inc., is a Delaware corporation, with its principal
 2
     place of business at 805 Broadway St. Suite 900, Vancouver, WA. It was founded in 2007 by its
 3
     current CEO, Henry Shuck. Prior to its acquisition by DiscoverOrg in February 2019, ZoomInfo
 4
     was known as Zoom Information, Inc. The combined business was incorporated as the former
 5
     ZoomInfo Technologies Inc. on November 14, 2019, for the purpose of facilitating the IPO, which
 6
     took place on June 8, 2020. As of December 31, 2021, ZoomInfo had 2,742 employees across North
 7
     America, the Middle East, Asia and Europe.
 8
            25.    Defendant ZoomInfo Technologies LLC was converted from Defendant Zoom
 9
     Information, Inc., on January 7, 2020, and is organized under the laws of Delaware. It has its
10
     principal place of business in Vancouver, Washington.
11
            26.    Defendant ZoomInfo Holdings LLC is a Washington limited liability company and
12
     organized under the laws of Delaware. It has its principal place of business in Vancouver,
13
     Washington.
14
            27.    Defendant ZoomInfo Intermediate Inc. is a Delaware corporation and a direct
15
     subsidiary of ZoomInfo Technologies Inc.
16

17    IV.   SUBSTANTIVE ALLEGATIONS
            C. Background Information About ZoomInfo’s Business Model
18
            28.    ZoomInfo is a subscription-based provider of software as a service (“SaaS”)
19
     headquartered in Vancouver, Washington. ZoomInfo sells access to a database of information and
20
     analytics to marketing, operations, and recruiting professionals and other organizations. According
21
     to ZoomInfo’s regulatory filings, ZoomInfo’s cloud-based operating system aggregates and extracts
22
     distinct types of data and intelligence on business organizations and professionals, including
23
     information on companies’ personnel moves, planned investments, technologies used by companies,
24
     “intent signals” (information related to what prospects and customers to engage with and when),
25
     decision-maker contact information, including email addresses, titles, and phone numbers, advanced
26
     attributes (such as granular department and location information, and employee trends),
27

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 1 organizational charts, news and events, hierarchy information, locations, funding details, and

 2 revenue information from millions of public and proprietary sources.

 3          29.     In addition to selling paid subscription packages, ZoomInfo offers a free program

 4 called Community Edition. Community Edition gives users free ongoing limited access to

 5 ZoomInfo’s database of profiles of individuals and entities, which ZoomInfo claims contains

 6 profiles for over 10 million businesses and 125 million business professionals. In exchange for the

 7 free access to ZoomInfo’s database, Community Edition, Subscribers are required to register and

 8 download a computer tool called the Contact Contributor or otherwise provide access to their email.
 9 Contact Contributor is a software application for Microsoft Outlook and/or Google Business Apps

10 that enables ZoomInfo to obtain address books and other information from all of users’ incoming

11 and outgoing emails, which ZoomInfo uses to build out its database.

12          30.     According to ZoomInfo, Community Edition program selectively focuses on address
13 books, email headers, and email signatures to create profiles of individuals and entities. ZoomInfo’s

14 entire contributory network —including Community Edition Program Subscribers — contributes

15 approximately 50 million contact records events daily, comprising of “email signatures, email

16 deliverability and contact update records . . . as well as unattributed data through integrations with .

17 . . customers’ CRM and sales & marketing automation systems.” The 200,000 Community Edition

18 Subscribers alone generate enough email traffic to allow ZoomInfo to scrub 10 million signature

19 blocks daily. ZoomInfo claims that each month, it adds 2,000 businesses and 30,000 employees, and

20 that it updates 20,000 businesses and 300,000 employees. ZoomInfo readily admits on its website

21 and elsewhere that its ability to “map the business landscape in near real time [ ] dramatically

22 improve[s] the quality of B2B information”2 and that the information it extracts “improve[s] the size

23 and quality of [its] Directory.”3

24          31.     In reality, and unbeknownst to the unsuspecting consumers, ZoomInfo, through their

25 Community Edition program, reads the entirety of their email correspondence in the quest for

26   2
         https://www.zoominfo.com/b2b/faqs/community-edition (last visited June 13, 2022).
     3
27       https://www.zoominfo.com/about-zoominfo/privacy-policy (last visited June 13, 2022).

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 1 information that ZoomInfo can harvest for inclusion in their database. Through the Contact

 2 Contributor software or email access, ZoomInfo downloads the contents of the email message to

 3 capture the “Business Information.” In some cases, the downloaded emails are quality-checked by

 4 human researchers to separate the email message from “Business Information” and to verify the

 5 “Business Information.”

 6          32.    Based on ZoomInfo’s express and implied representations (as described in detail in

 7 Sec. IV.C.), Subscribers do not understand that use of Community Edition program will allow

 8 ZoomInfo to view, read, or otherwise inspect the contents of their email communications. Critically,
 9 the information collected by Community Edition program comprises of, to a large extent,

10 information that originates with Non-Subscribers who never used, visited, subscribed, or otherwise

11 interacted with ZoomInfo and who have no way of knowing that they are corresponding with a

12 Subscriber whose emails are being scanned by ZoomInfo. As a result, Non-Subscribers lack any

13 opportunity to authorize or consent to the viewing, reading, and scanning practice nor the collection,

14 processing, and sale of their personal information, including the content of their correspondence

15 with Subscribers.

16          33.    Worse, ZoomInfo readily admits to using a team of human research analysts and data
17 scientists to clean business-to-business data, which according to ZoomInfo includes addressing data

18 and intelligence gaps, tagging anomalies in data, reviewing data pieces that require another manual

19 verification, and identifying methods to automate data gathering. ZoomInfo claims that this “human-

20 in-the-loop” approach ensures at least 95% accuracy of its data, and thereby benefits ZoomInfo by

21 enhancing the reliability of its database. This “human-in-the-loop approach” directly contradicts

22 ZoomInfo’s explicit claims in its Privacy Policy that “no human being reads” emails as a result of

23 users’ participation in the Community Edition Program.

24          D. Subscribers and Non-Subscribers Have a Reasonable Expectation
               of Privacy in Their Electronic Email Communication
25
            34.    Contrary to ZoomInfo’s self-serving assertions denying the existence of an
26
     expectation of privacy in “Business Information,” the vast majority of employees do maintain an
27

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 1 expectation of privacy in their employment information and work communications as evidenced by

 2 several consumer studies and opinion polls, reflecting broader societal norms. This expectation is

 3 far from new: 80% of respondents to a 2001 poll conducted by Harris stated that not being monitored

 4 at work was either extremely or somewhat important to their privacy.4 Over twenty years later, the

 5 expectation remains the same, despite the exponential growth in the ability of companies like

 6 ZoomInfo to intrude, track, and catalog employee communications and activities. According to a

 7 2020 research poll conducted by Pew Research, a large majority of Americans, 67%, believe they

 8 should have the right to exclude information about employment history or work records from online
 9 search results which are available to the public.5 Similarly, a 2019 Gartner poll found that a mere

10 30% of employees were comfortable with their employers’ undisclosed monitoring of their email

11 communication.6

12          35.    Despite their clear expectation of privacy in their employment information and work-

13 related emails, 81% of Americans feel as though they have little to no control over the data gathered

14 about them by private companies.7 Further, the public is wary of the purported benefits of data

15 collection, with 81% of respondents in that same Pew Research Center poll stating that the potential

16 risks posed by companies’ data collection outweigh the benefits.8 According to a recent consumer

17 privacy survey conducted by Cisco, 72% of respondents believed that organizations have an

18 obligation to use artificial intelligence (“AI”) responsibly and ethically, and over half of

19
     4
         EPIC.ORG, Public Opinion on Privacy, (Aug. 2001), available at
20       https://archive.epic.org/privacy/survey/.
     5
21       Brooke Auxier, Most Americans support right to have some personal info removed from
         online searches, PEW RESEARCH CENTER (Jan. 27, 2020), available at
22       https://www.pewresearch.org/fact-tank/2020/01/27/most-americans-support-right-to-have-
         some-personal-info-removed-from-online-searches.
23   6
         Brian Kropp, The Future of Employee Monitoring, GARTNER (May 3, 2019), available at
24       https://www.gartner.com/smarterwithgartner/the-future-of-employee-monitoring.
     7
         Brooke Auxier et. al., Americans and Privacy: Concerned, Confused and Feeling Lack of
25       Control Over Their Personal Information, PEW RESEARCH CENTER (Nov. 15, 2019), available
         at https://www.pewresearch.org/internet/2019/11/15/americans-and-privacy-concerned-
26
         confused-and-feeling-lack-of-control-over-their-personal-information.
     8
27       Id.

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 1 respondents, 56%, stated that they were concerned about how businesses use AI technologies.9 Thus,

 2 ZoomInfo’s assertion that the American public lacks a reasonable expectation of privacy in their

 3 digital employment information and work communications is simply wrong.

 4          E. ZoomInfo’s Misleading Disclosures to Subscribers

 5          36.     Prior to accessing ZoomInfo’s platform through Community Edition program, users

 6 are required to agree to ZoomInfo’s Community Edition Program Terms of Use (attached as Exhibit

 7 A) and ZoomInfo’s Privacy Policy (attached as Exhibit B), by checking a box that states:
                I agree to the Terms of Use and Privacy Policy. I understand that I will
 8
                receive a subscription to ZoomInfo Community Edition at no charge in
 9              exchange for downloading and installing the ZoomInfo Contact Contributor
                utility, which, among other features, involves sharing my business contacts
10              as well as headers and signature blocks from emails that I receive.
11          37.     The “Terms of Use” and “Privacy Policy” in the above paragraph is hyperlinked,

12 such that by clicking on each, the user is redirected to a separate webpage containing the pertinent

13 document in full.

14                  i. Privacy Policy
15
            38.     ZoomInfo’s Privacy Policy’s stated purpose is to explain how ZoomInfo “collect[s]
16
     information pertaining to businesses and businesspeople (“Business Information”) . . . and all other
17
     types of information, including personal information,” and how ZoomInfo “maintain[s], use[s],
18
     and share that information.” While the Privacy Policy states that “Business Information” is
19
     “information pertaining to businesses and businesspeople,” it does not define, clarify, or give
20
     examples of what “personal information” means.
21
            39.     ZoomInfo states that the Business Information it collects comes from: (i) “the
22
     contacts within your email client and ‘signatures’ within email messages”; and (ii) “the headers of
23
     your emails.” ZoomInfo makes it sound like “Business Information” is voluntarily contributed by
24

25

26   9
         CISCO SYSTEMS, INC., Cisco 2021 Consumer Privacy Survey, (Sept. 29, 2021) available at
27       https://www.cisco.com › about › trust-center › docs.

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 1 users alone: “[u]sers contribute Business Information about themselves or other people and

 2 companies.”

 3          40.    ZoomInfo’s Privacy Policy also represents that “ZoomInfo only wants business-

 4 related information [and t]herefore, any contacts that have an address from a consumer-oriented

 5 service such as Gmail, Hotmail, or Yahoo are disregarded.” The Privacy Policy misleadingly assures

 6 customers that “ZoomInfo does not ‘read’ the body of your email messages; our technology

 7 automatically extracts only the data we describe in this Policy. We do not collect data from custom

 8 fields or notes in your email client.”
 9
                   ii. Terms of Use
10
            41.    The Community Edition Terms of Use repeat the assurances given in the Privacy
11
     Policy that ZoomInfo looks only at email headers and signature blocks: “[ZoomInfo] use[s]
12
     automated computer processes to identify the signature block and email header and to extract the
13
     business contact information of the sender and metadata from the email header.”
14
            42.    Buried deep within the document, though, is a paragraph that contradicts ZoomInfo’s
15
     earlier, more explicit representations that ZoomInfo does not read the content of emails and does
16
     not collect information from personal email accounts such as Gmail:
17
                    2.1 By accepting this Agreement and registering for Community Edition, and
18                  as a condition to accessing and using the Services, you authorize the
                    Application [meaning Community Edition software] to access the
19                  information in your email account (e.g. Gmail, Microsoft Outlook),
                    including your contacts, metadata from email headers, and email content.
20
                    You acknowledge, understand, and agree that after this permission is granted
21                  and until it is revoked, the Application will use automated algorithms to
                    automatically parse this information and extract certain information
22                  regarding businesses and business people, such as name, email address, job
                    title, department, company name, phone numbers, business address(es),
23                  website URLs, metadata from email headers, and other similar business-
                    related information (collectively “Contact Data”) that may be stored in your
24
                    email account both locally or on a remote server.
25          43.    ZoomInfo clearly realizes that it must obtain Non-Subscribers’ consent before
26 accessing their information, but instead of doing so in any legitimate way, ZoomInfo purports to put

27

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 1 the burden of doing so on its own users. Specifically, in its Terms of Use, ZoomInfo includes the

 2 following statement:

 3                  You represent and warrant that you have the right to provide us with this
                    information and that, if your email account is owned by your employer, you
 4                  are authorized by your employer to sign up for Community Edition. If you
                    do not have that right or that authorization (if applicable), you may not and
 5                  must not use the Service.
 6          44.     Of course, ZoomInfo knows that ZoomInfo’s customers do not have the “right” to
 7 consent to ZoomInfo’s scraping of private information from third parties’ emails on behalf of those

 8 third parties.
 9          45.     Alarmingly, ZoomInfo’s Terms of Use purport to secure for itself an irrevocable and
10 unrestrained right to use all the information it obtains, including “email content,” from Subscribers

11 and third parties alike. In particular, provision 2.1 defines “Contact Data” as “contacts, metadata

12 from email headers, and email content.” Furthermore, provision 2.3 states that by subscribing to

13 Community Edition Program, Subscribers agree to grant ZoomInfo “an irrevocable license to

14 reproduce, distribute, publish, perform, make derivative works of, or display the Contact Data or

15 any portion thereof, and sell, transfer, assign, sublicense, disclose, or make available the Contact

16 Data or any portion thereof to any third party, including ZoomInfo’s customers, contractors,

17 strategic partners, agents, and service providers.

18          46.     In other words, ZoomInfo essentially seeks to secure for itself unlimited, perpetual
19 and absolute ownership of this information, including email content, belonging to individuals who

20 may have no idea about ZoomInfo’s collection, sharing, and selling practices, including after a

21 Subscriber terminates the Community Edition Program and otherwise cuts all ties with ZoomInfo.

22 Pursuant to ZoomInfo’s Terms of Use, there is no possible way to retrieve or prevent further use of

23 information, including email content, that ZoomInfo obtains from Subscribers and other

24 unsuspecting third parties.

25

26

27

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 1                  iii. ZoomInfo Website

 2           47.    ZoomInfo’s FAQ website10 doubles down on ZoomInfo’s misleading claims, making
 3 several representations that fail to disclose ZoomInfo’s actual practices of scanning the contents of

 4 emails and involvement of human researchers in the processing, cleaning and verification of data

 5 collected from Subscribers and Non-Subscribers, stating:

 6                  Contact Contributor shares only business contact information, essentially
                    the information a person would normally include on a business card:
 7
                    Name, Company, Title, Email Address, and Phone Number. Personal email
 8                  address (such as those from Gmail, Hotmail, Yahoo, etc.) are filtered out.
                    (emphasis in original). Contact Contributor operates locally, and only
 9                  business contact information is shared with ZoomInfo. The body of your
                    email is never seen by ZoomInfo; in fact, it never leaves your email.
10
           48.     Furthermore, ZoomInfo’s FAQ website assures users that ZoomInfo “do[es] not
11
   collect any sensitive personal information from Community Edition Subscribers; simply business
12
   contact information of the type that hundreds of millions of business professionals share every day,
13
   online, on their business cards, and otherwise.”
14
           49.     As to the question “Does Contact Contributor read my email messages?” ZoomInfo
15
   emphatically denies it, stating:
16
                    Absolutely not. Contact Contributor operates locally on your email client and
17                  looks only at address book entries, email headers, and email signatures to
                    capture basic business contact information. All other information is
18                  excluded.
19           50.    ZoomInfo concedes that it uses a team of in-house human researchers, analysts, and
20 data scientists for manual verification, and improvement of ZoomInfo’s algorithms used in its

21 artificial intelligence. What it does not clearly disclose, though, is that it uses hundreds of human

22 researchers and analysts to verify the information that ZoomInfo collected from Subscribers’ and

23 Non-Subscribers’ email accounts, which it then sells to third parties, such as marketers, recruiters,

24 and advertisers.

25

26
     10
27        https://www.zoominfo.com/b2b/faqs/community-edition (last visited June 16, 2022)

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 1                  iv. Privacy Notice

 2          51.     Rather than obtaining valid consent prior to collecting information, ZoomInfo seeks
 3 to cure its privacy violations after the fact by sending individuals whose personal information it has

 4 already taken an email notification (“Privacy Notice”), purporting to inform them of the “collection,

 5 processing, and sale of certain personal information or personal data about you . . .” and

 6 providing a list of “personal information that it may have taken”:

 7                  Name
 8                  Company

 9                  Office Address
                    Telephone Number
10
                    Email Address
11
                    Job Title
12                  Job Function and Responsibilities
13                  Education

14                  Social Media URL
            52.     In its Privacy Notice, ZoomInfo states that the personal information it has taken about
15
     the Non-Subscriber is processed for “direct marketing purposes [and] may be licensed to
16
     [ZoomInfo] customers for their sales, marketing, or recruiting purposes, or to other organizations
17
     who may license it to their customers for the same purposes (“partners”).” The Privacy Notice
18
     further advises that “[ZoomInfo’s] customers, or those of our partners, may use the information to
19
     market their services to your employer or to contact you about professional opportunities.”
20
            53.     To create an impression of legality, ZoomInfo includes a paragraph titled “Lawful
21
     Basis,” providing the purported legal grounds for its collection and use of individuals’ personal
22
     information, stating: “ZoomInfo’s processing of your personal information is based on the
23
     legitimate interest of itself and its customers to engage in direct marketing.”
24
            54.     ZoomInfo purportedly gives recipients of its Privacy Notice an opportunity to opt
25
     out of ZoomInfo’s database by visiting a hyperlink that leads to ZoomInfo’s Privacy Center.
26
     However, to opt out of ZoomInfo’s database and request that information be removed and deleted,
27

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 1 users are required to provide ZoomInfo with their email address, to which ZoomInfo subsequently

 2 sends a verification email. Furthermore, while ZoomInfo promises to exclusively use the email

 3 address provided to it in the context of profile deletion, ZoomInfo also states that it “cannot

 4 guarantee that other data providers will see or honor your opt-out request.”

 5            55.     In reality, ZoomInfo itself does not respect or honor a person’s choice to opt out of

 6 ZoomInfo’s database. To be sure, there are over hundred complaints lodged with Better Business

 7 Bureau complaining of lack of action by ZoomInfo in taking down information of people who have

 8 opted out. What’s worse, as many consumers complain, is once a person is finally able to take their
 9 information down, it reappears a few days later on ZoomInfo’s database.

10            56.     Although ZoomInfo purportedly sends a Privacy Notice, the Privacy Notice is
11 designed to never reach its recipients. According to a report by Wolfpack Research, while ZoomInfo

12 sends their regular communication through a domain name that reaches 95% of its audience, the

13 Privacy Notice is intentionally sent from a different domain name, which only reaches a fragment

14 of the recipients’ inboxes. As Wolfpack Research revealed, the Privacy Notice ZoomInfo sends to

15 purportedly inform individuals of its information collection practices, reaches as little as 5% of the

16 recipients’ inboxes. This is by design. Upon information and belief, the email intended to deliver

17 the Privacy Notice contains metadata that is intended to trigger standard email accounts’ spam filters

18 such that the Privacy Notice is diverted into spam, and not to individuals’ inboxes. ZoomInfo’s

19 algorithm manipulation and search engine optimization are also clear from the fact that the first few

20 pages of Google search results are dominated by content posted by ZoomInfo.

21            57.     Moreover, according to ZoomInfo’s Code of Community, ZoomInfo also discloses

22 to its customers the fact that individuals whose information ZoomInfo collected from those

23 customers’ email accounts, have opted out of ZoomInfo.11 Thus ZoomInfo continues to use the

24 opted-out email address provided for purposes of deleting one’s information from ZoomInfo’s

25 database, for its own continued use and processing.

26
     11
27        https://www.zoominfo.com/b2b/community-edition-data (last visited June 16, 2022)

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            ***
 1
            58.     Besides the Terms of Use, Privacy Policy, ZoomInfo websites, and/or the Privacy
 2
     Notice, ZoomInfo publishes on its website numerous other documents and web pages that purport
 3
     to describe its practice of collecting, sharing, and selling information collected via its Community
 4
     Edition Program. ZoomInfo expects users to sort through dozens of different documents spread
 5
     across several web pages and piece together its representations from various portions of one or more
 6
     of these documents. Even if someone managed that feat, ZoomInfo’s description of what data it
 7
     collects, from where, and what it does with that date are vague, confusing, incomplete, and
 8
     sometimes completely contradictory. No reasonable ZoomInfo Subscriber would understand that
 9
     acceptance of ZoomInfo’s Terms of Use or Privacy Policy results in giving ZoomInfo irrevocable
10
     permission to its unfettered collection, use, sharing and sale of Subscribers’ and Non-Subscribers’
11
     personal information, including content of their and other individuals’ electronic email
12
     communication.
13
            59.     Besides misleading and incomplete disclosures to scrape data and personal
14
     information off Class Members’ emails, the Wolfpack Research Report also revealed that ZoomInfo
15
     purchases stolen data from the internet to include on its website. The lengths ZoomInfo can go to
16
     collect data and personal information is apparent from the fact that ZoomInfo uses SGN Database
17
     LLC (“SGN”), which helps the Company to obscure its purchase of stolen data.
18
            60.     According to the Wolfpack Research Report, ZoomInfo had a contract with SGN to
19
     get OxyLeads data through May 2021. OxyLeads is a cloud-based lead generation and digital
20
     prospecting platform which helps generating contact lists based on industry, revenue and other
21
     helpful keywords. ZoomInfo would use SGN to veil its transactions with OxyLeads and indirectly
22
     request data depending on its strategic objectives for the month. ZoomInfo used this indirect route
23
     to obtain the data because it knew that data received from OxyLeads was of dubious origin.
24
     OxyLeads was alleged to have scraped off private data from millions of LinkedIn users when
25
     individual profiles were found on a publicly accessible server. As the Wolfpack Research Report
26
     revealed, ZoomInfo secretly bought illegally collected data from OxyLeads using SGN as a veil to
27

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 1 continuously update its database. ZoomInfo then uses this illegally sourced data to build its platform.

 2 Data from sources like LinkedIn is considered valuable because the information comes directly from

 3 data subjects and companies like ZoomInfo are able to buy the illegally sourced data cheaply from

 4 companies like OxyLeads. ZoomInfo then benefits from people’s personal information to build its

 5 own database. ZoomInfo does not disclose its use of SGN or that it buys data from other sources

 6 (including those of questionable legality) to build its database.

 7          61.     ZoomInfo’s efforts to obfuscate its relationship with OxyLeads further substantiates

 8 that OxyLeads procures the data by unlawful means. According to Wolfpack Research, the
 9 unlawfully sourced data is then sold to ZoomInfo and used by ZoomInfo. According to Wolfpack

10 Research, OxyLeads data was considered problematic because it appeared to be a result of hacking

11 and illegal scraping off LinkedIn sites. ZoomInfo, which at least had an agreement with OxyLeads

12 until 2019, buys this data and publishes it on their website, without any hesitation to it being illegally

13 collected. According to former employees of ZoomInfo, the use of OxyLeads data was an open

14 secret and complaints by ZoomInfo’s employees about using unethically mined data were ignored.

15          62.     While executives go out of their way to convince consumers about the legality of
16 their practices, their internal activities are the opposite. Insider sales show executives are shedding

17 massive number of shares of the Company in an unprecedented manner. For example, in the last six

18 months, Chief Executive Officer and Founder of ZoomInfo, Henry Schuck has sold over a million

19 shares for proceeds exceeding $57 million. Other executives including ZoomInfo’s President and

20 COO, Hays Joseph Christopher, has parted with 95,771 of his personal shares worth $6,673,805 in

21 the last six months while the CFO, Hyzer Peter Cameron has sold 45,000 shares worth $5,400,552.

22          F. ZoomInfo Benefits from its Practice of Intercepting
               Individuals’ Electronic Communication
23
            63.     Contrary to its representations, ZoomInfo intercepts and processes Subscribers’ and
24
     Non-Subscribers’ incoming and outgoing email during transit and before the emails reach its storage
25
     location.
26

27

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 1          64.     ZoomInfo analyzes the content of Subscribers’ and Non-Subscribers’ emails while

 2 searching for relevant information; collects and categorizes the information it extracts; and stores

 3 the information for its own use and for purposes of sharing and selling the information to third

 4 parties for ZoomInfo’s own financial, commercial and competitive advantage.

 5          65.     ZoomInfo uses the information it unlawfully collects from the incoming and

 6 outgoing emails of the Subscribers and Non-Subscribers to create user profiles of individuals and

 7 entities. The practice of creating a comprehensive database of business entities, business

 8 professional, along with their employment-based information, such as job title, responsibilities,
 9 promotions, and social and professional affiliations enhances the value of ZoomInfo’s database, and

10 therefore, gives ZoomInfo the ability to offer for sale the subscription-based access to its database.

11 By increasing the data volume of its database, ZoomInfo gains the ability to attract more paid

12 subscription-based customers, which translates to higher revenue for ZoomInfo.

13          66.     ZoomInfo uses its own human employees in the process of cleaning, organizing, and
14 verifying data collected from contributory network. ZoomInfo admits that it does so to train its AI

15 and ML-powered engines that gather data from millions of sources. ZoomInfo employs over 300

16 research analysts and 40 data scientists for that purpose. ZoomInfo’s use of humans in the quality-

17 control process is directly contrary to ZoomInfo’s own assurances that “[n]o human being reads

18 [users’] email because of [users’] use of Community Edition.”

19          G. ZoomInfo’s Unlawful Actions Have Personally Harmed Plaintiffs
               Who Did Not Consent to ZoomInfo’s Interception
20
            67.     The Non-Subscriber Plaintiffs have not created an account with ZoomInfo, did not
21
     subscribe to or use any of ZoomInfo’s services, have not purchased any of ZoomInfo’s products,
22
     and never knowingly provided ZoomInfo with any information, including their name, contact
23
     information, employment-related information, or URLs associated with any of Non-Subscriber
24
     Plaintiffs’ professional or social networks. Upon information and belief, ZoomInfo intercepted
25
     Plaintiffs’ emails and accessed its contents, including the signature block contained within the body
26
     of Plaintiffs’ emails. Upon information and belief, ZoomInfo disclosed the unlawfully taken
27

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 1 information to other third parties, including, but not limited to, by publishing Plaintiffs’ contact

 2 information on ZoomInfo’s own database, and potentially selling, replicating, and/or otherwise

 3 using Plaintiffs’ information to other third parties. Plaintiffs did not know of or authorize the

 4 interception and subsequent disclosure and use of this information.

 5          68.    At no point did the Plaintiffs consent to or authorize ZoomInfo to intercept, view,

 6 read, process, capture and/or share, disclose, or otherwise misuse their information poached from

 7 her email communications. ZoomInfo does not adequately disclose its collection, sharing, and

 8 selling practices, specifically that Contact Contributor scans, reads, or otherwise reviews the
 9 contents of their email correspondence with third parties. Plaintiffs relied on ZoomInfo’s assurances

10 and freely exchanged email correspondences which they would not have had had they known that

11 such conversations were being intercepted by ZoomInfo. Plaintiffs did not agree to having

12 ZoomInfo intercept, scan, read or otherwise review the contents of their email correspondences with

13 third parties through their use of Contact Contributor. Plaintiffs would not have had private

14 conversations with third parties had they known that ZoomInfo engaged in the unlawful actions

15 described herein.

16          69.    Plaintiff Wysocki is an attorney who regularly uses her email for her work. She is
17 frequently exchanging emails with other attorneys and her clients. Plaintiff used both Gmail and

18 Microsoft Outlook during the Class Period. The contents of her emails are privileged and

19 confidential, protected by attorney-client privilege or work-product doctrine. She has never

20 subscribed or used any ZoomInfo service but her information, including her full name, place of

21 employment, years of experience, geographical location, and her contact information is available on

22 ZoomInfo’s platform. ZoomInfo also makes available her contact information if you subscribe to

23 ZoomInfo which includes her mobile number, which she does not use for her work and is not

24 “Business Information.” ZoomInfo’s scanning, reading, or otherwise reviewing the contents of her

25 email is a highly offensive and egregious breach of her privacy and that of her clients.

26          70.    Similarly, Plaintiff Sidhu uses his email for work communications with his clients

27 and colleagues and the contents of his emails are confidential. He has never subscribed to ZoomInfo

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 1 or used any ZoomInfo service yet his full name, place of employment, employment history,

 2 geographical location and contact information is publicly displayed on ZoomInfo’s platform. His

 3 repeated requests to get his information deleted from ZoomInfo have failed and his information

 4 keeps reappearing on ZoomInfo’s platform without his consent. ZoomInfo’s scanning, reading, or

 5 otherwise reviewing the contents of her email is a highly offensive and egregious breach of his

 6 privacy and that of his clients.

 7          71.    Plaintiff Kellogg is a small business owner of a brand marketing and graphic

 8 designing service. Plaintiff Kellogg is a subscriber of ZoomInfo. At the time she signed up, Plaintiff
 9 Kellogg was unaware of ZoomInfo’s data scraping practices. ZoomInfo viewed, scanned, and read

10 her personal and confidential communications, without her consent and knowledge.

11          72.    Plaintiff Flemister is a published writer and owner of a writing business registered in
12 Georgia by the name of “Mirror Life Writings, Inc.” She has never subscribed to ZoomInfo or used

13 any ZoomInfo service, yet her business is displayed on ZoomInfo’s platform. Her business profile

14 on ZoomInfo, however, contains wrong information and links her to a similarly named porn website

15 (www.mirrorlife.com) as the website associated with her business. Moreover, ZoomInfo publicly

16 displays her jointly owned residential property as the business headquarters of the porn business.

17 The inclusion of information without her consent or authorization, which is also incorrect, has

18 caused and has the potential to cause Plaintiff Flemister embarrassment and loss of business.

19 Plaintiff Flemister at no time received any information or “Privacy Notice” from ZoomInfo

20 attempting to obtain her consent before including the information about her business on Zoominfo.

21 Even worse, despite her many attempts to have the information removed, nothing has been done and

22 her business and residence continue to be associated with a porn business.

23          73.    Plaintiffs would like to continue to use their personal and work-related email

24 accounts in the future but are uncertain as to whether ZoomInfo has ceased its unlawful practices

25 and violation of their privacy rights without the equitable relief requested herein, specifically an

26 injunction prohibiting ZoomInfo from engaging in the unlawful practices alleged herein. This is

27 particularly the case given the surreptitious nature of ZoomInfo’s misconduct.

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 1     V.   TOLLING OF THE STATUTE OF LIMITATIONS

 2          74.    The applicable statutes of limitations have been tolled by ZoomInfo’s knowing and
 3 active concealment and denial of the facts alleged herein, namely its practice of intercepting,

 4 viewing, reading, processing, disclosing, and misusing Plaintiffs and Class Members’ email

 5 correspondence and communications. Plaintiffs and Class Members could not have reasonably

 6 discovered the truth about ZoomInfo’s practices until shortly before this class action litigation was

 7 commenced.

 8          75.    As alleged in detail herein, ZoomInfo expressly assures consumers that neither
 9
   ZoomInfo nor its Contact Contributor software reads, views, processes, discloses, or otherwise uses
10
   the contents of Plaintiffs’ and Class Members’ email correspondence. ZoomInfo further asserts that
11
   it only captures, processes, and analyzes business contacts, headers and signature blocks from
12
   emails. These assurances are prominently featured in ZoomInfo’s Privacy Policy and other
13
   marketing materials. No reasonable user would be placed on notice that she should scour the
14
   remainder of the documents and links found on ZoomInfo’s website to uncover other “disclosures”
15
   directly contradicting those assurances. And Non-Subscribers, of course, would have no reason at
16
   all to investigate whether they have corresponded with a Contact Contributor Subscriber and had
17
   their data mined by ZoomInfo as a result.
18
     VI. CLASS ACTION ALLEGATIONS
19
            76.    Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23
20

21 individually and on behalf of the following Classes:
          Nationwide Subscriber Class: All individuals who reside in the United States and its
22        territories who subscribed to ZoomInfo’s Community Edition whose email correspondence
          was viewed, read, processed, captured and/or shared by ZoomInfo with third parties without
23        their consent during the applicable statute of limitations period (the “Class”).
24
            Nationwide Non-Subscriber Class: All individuals who reside in the United States and its
25          territories who did not subscribe to ZoomInfo’s Community Edition and whose email
            correspondence was viewed, read, processed, captured and/or shared by ZoomInfo with third
26          parties without their consent as a result of their corresponding with any Member of the
            Subscriber Class during the applicable statute of limitations period.
27

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 1         Washington Non-Subscriber Subclass: All individuals who reside in the State of
 2         Washington who did not subscribe to ZoomInfo’s Community Edition and whose email
           correspondence was viewed, read, processed, captured and/or shared by ZoomInfo with third
 3         parties without their consent as a result of their corresponding with any Member of the
           Subscriber Class during the applicable statute of limitations period.
 4
           California Non-Subscriber Subclass: All individuals who reside in the State of California
 5
           who did not subscribe to ZoomInfo’s Community Edition and whose email correspondence
 6         was viewed, read, processed, captured and/or shared by ZoomInfo with third parties without
           their consent as a result of their corresponding with any Member of the Subscriber Class
 7         during the applicable statute of limitations period.

 8         Florida Non-Subscriber Subclass: All individuals who reside in the State of Florida who
           did not subscribe to ZoomInfo’s Community Edition and whose email correspondence was
 9
           viewed, read, processed, captured and/or shared by ZoomInfo with third parties without their
10         consent as a result of their corresponding with any Member of the Subscriber Class during
           the applicable statute of limitations period.
11
           New York Non-Subscriber Subclass: All individuals who reside in the State of New York
12         who did not subscribe to ZoomInfo’s Community Edition and whose email correspondence
           was viewed, read, processed, captured and/or shared by ZoomInfo with third parties without
13
           their consent as a result of their corresponding with any Member of the Subscriber Class
14         during the applicable statute of limitations period.

15         Connecticut Non-Subscriber Subclass: All individuals who reside in the State of
           Connecticut who did not subscribe to ZoomInfo’s Community Edition and whose email
16         correspondence was viewed, read, processed, captured and/or shared by ZoomInfo with third
17         parties without their consent as a result of their corresponding with any Member of the
           Subscriber Class during the applicable statute of limitations period.
18
           Illinois Non-Subscriber Subclass: All individuals who reside in the State of Illinois who
19         did not subscribe to ZoomInfo’s Community Edition and whose email correspondence was
           viewed, read, processed, captured and/or shared by ZoomInfo with third parties without their
20         consent as a result of their corresponding with any Member of the Subscriber Class during
21         the applicable statute of limitations period.

22         Georgia Non-Subscriber Subclass: All individuals who reside in the State of Georgia who
           did not subscribe to ZoomInfo’s Community Edition and whose email correspondence was
23         viewed, read, processed, captured and/or shared by ZoomInfo with third parties without their
           consent as a result of their corresponding with any Member of the Subscriber Class during
24         the applicable statute of limitations period.
25         77.     Excluded from each Class are: (1) any Judge or Magistrate presiding over this action
26 and any members of their families; (2) Defendants, Defendants’ subsidiaries, parents, successors,

27

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 1 predecessors, and any entity in which Defendants or their parents have a controlling interest and

 2 their current or former employees, officers, and directors; (3) persons who properly execute and file

 3 a timely request for exclusion from the Class; (4) persons whose claims in this matter have been

 4 finally adjudicated on the merits or otherwise released; (5) Plaintiffs’ counsel and Defendants’

 5 counsel; and (6) the legal representatives, successors, and assigns of any such excluded persons.

 6          78.     Ascertainability: Membership of each Class is defined based on objective criteria,

 7 and individual members will be identifiable from Defendants’ records, including records reflecting

 8 Class Members’ subscription to ZoomInfo’s Community Edition program and from the contact
 9 information of members of Non-Subscriber Class derived from, among other places, the Contact

10 Contributor software.

11          79.     Numerosity: The exact number of members of the Class(es) is unknown and
12 unavailable to Plaintiffs at this time, but individual joinder in this case is impracticable. The Classes

13 likely consist of thousands if not millions of individuals and Class Members can be identified

14 through Defendants’ records.

15          80.     Predominant Common Questions: The Classes’ claims present common questions
16 of law and fact, and those questions predominate over any questions that may affect individual Class

17 Members. Common questions for the Classes include, but are not limited to, the following:

18          a.      whether ZoomInfo intercepts, views, reads, processes, discloses, or otherwise

19                  misuses users’ personal information;

20          b.      whether individuals have a reasonable expectation of privacy in their email

21                  correspondence and in their employment and work-related matters under federal law

22                  and the laws of the various states, as alleged herein;

23          c.      whether ZoomInfo’s business practices of intercepting, viewing, reading, processing,

24                  disclosing, or otherwise misusing users’ personal information violated state and

25                  federal laws, as alleged herein;

26

27

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 1          d.     whether ZoomInfo’s business practices of intercepting, viewing, reading, processing,

 2                 disclosing, or otherwise misusing users’ personal information constitute a breach of

 3                 the contract between ZoomInfo and members of the Subscriber Class;

 4          e.     whether Plaintiffs and Class Members are entitled to declaratory and/or injunctive

 5                 relief to enjoin the unlawful conduct alleged herein;

 6          f.     whether, for the Nationwide Non-Subscriber Class alleged herein, California has a

 7                 significant contact to the claims of each class member to apply California law to all

 8                 members of the Nationwide Non-Subscriber Class; and
 9          g.     whether Plaintiffs and Class Members have sustained damages or lost money or
10                 property as a result of ZoomInfo’s conduct, and, if so, what is the appropriate
11                 measure of damages or restitution.
12          81.    Typicality: Plaintiffs’ claims are typical of the claims of the other members of the
13 proposed Classes. Plaintiffs and Class Members suffered an invasion of privacy as a result of

14 Defendants’ wrongful conduct that is uniform across the Classes.

15          82.    Adequate Representation: Plaintiffs have fairly and adequately represented and
16 protected the interests of the Classes and will continue to do so. They have retained counsel

17 competent and experienced in complex litigation and class actions, including privacy violations.

18 Plaintiffs have no interests that are antagonistic to those of the Classes, and Defendants have no

19 defenses unique to the Plaintiffs. Plaintiffs and their counsel are committed to vigorously

20 prosecuting this action on behalf of the members of the Classes, and they have the resources to do

21 so. Neither Plaintiffs nor their counsel have any interests adverse to those of the other members of

22 the Class.

23          83.    Substantial Benefits: This Class Action is appropriate for certification because class

24 proceedings are superior to other available methods for the fair and efficient adjudication of this

25 controversy and joinder of all members of the Classes is impracticable. This proposed Class Action

26 presents fewer management difficulties than individual litigation, and provides the benefits of single

27

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 1 adjudication, economies of scale, and comprehensive supervision by a single court. Class treatment

 2 will create economies of time, effort, and expense and promote uniform decision-making.

 3          84.     Plaintiffs reserve the right to revise the foregoing class allegations and definitions

 4 based on facts learned and legal developments following additional investigation, discovery, or

 5 otherwise.

 6   VII.   CLAIMS FOR RELIEF
 7
                                        FIRST CLAIM FOR RELIEF
 8
                                          Violation of the Wiretap Act
 9                          Title 1 of the Electronic Communications Privacy Act
                                      (“ECPA”) (18 U.S.C. §2510, et seq.)
10                                  (on Behalf of Plaintiffs and all Classes)
11
            85.     Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with
12
     the same force and effect as if fully restated herein.
13
            86.     The Wiretap Act prohibits the intentional interception by any person of the content
14
     of any wire, oral, or electronic communications without the consent of at least one authorized party
15
     to the communication. 18 U.S.C. § 2520(a).
16
            87.     “Electronic communication” is defined as “any transfer of signs, signals, writing,
17
     images, sounds, data, or intelligence of any nature transmitted in whole or in part by a wire, radio,
18
     electromagnetic, photoelectronic or photo-optical system that affects interstate or foreign
19
     commerce…” 18 U.S.C. § 2510(12).
20
            88.     “Intercept” is defined as “the aural or other acquisition of the contents of any wire,
21
     electronic, or oral communication through the use of any electronic, mechanical, or other device.”
22
     18 U.S.C. § 2510(4).
23
            89.     “Contents” is defined as “includ[ing] any information concerning the substance,
24
     purport, or meaning of that communication[.]” 18 U.S.C. § 2510(8).
25

26

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 1          90.     “Person” is defined as “any employee, or agent of the United States or any State or

 2 political subdivision thereof, and any individual, partnership, association, joint stock company, trust,

 3 or corporation[.]” 18 U.S.C. § 2510(6).

 4          91.     Plaintiffs and Class Members, as individuals, are persons as defined under 18 U.S.C.

 5 §2510(6).

 6          92.     ZoomInfo, as a corporation, is a person as defined under 18 U.S.C. § 2510(6).

 7          93.     Plaintiffs and Class Members exchanged electronic communication via their

 8 respective email accounts during the Class Period by using their computers, smart phones, tablets,
 9 and other electronic devices.

10          94.     ZoomInfo’s Contact Contributor is a device for purposes of the Wiretap Act because
11 it is a software program used to intercept electronic communications and because it transmits a

12 signal through a wire, cable, or other like connection used in wire communication.

13          95.     Plaintiffs and Class Members’ private and personal emails that were intercepted in
14 real time by ZoomInfo are “electronic communications” within the meaning of 18 U.S.C. §

15 2510(12).

16          96.     Plaintiffs and Class Members reasonably expected that ZoomInfo was not
17 intercepting, viewing, reading, processing, capturing, and/or disseminating their electronic

18 communications transmitted via their electronic devices, including their computers based on: (i) the

19 context in which these electronic communications occurred, namely personal and professional

20 settings at Plaintiffs’ homes, workplaces and other private areas, to which access of all other persons

21 is prohibited absent Plaintiffs’ consent; (ii) a general understanding of how email communications

22 are transmitted, delivered, and shared, and based on ZoomInfo’s own assurances; and (iii)

23 ZoomInfo’s status as a party to those electronic communications who was not an intended party to

24 or recipient of Plaintiffs and Class Members’ private electronic communications.

25          97.     Pursuant to 18 U.S.C. § 2511(1)(a), ZoomInfo, through its design, authorship,

26 programming, knowing and intentional installation, activation, and/or other involvement with the

27 Contact Contributor software, intentionally intercepted, intercepts, or endeavored to intercept, the

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 1 content of electronic communications made by Plaintiffs and Class Members without obtaining

 2 actual consent from any authorized party to the electronic communication, include ZoomInfo’s

 3 viewing, reading, processing, capturing, and/or disseminating their electronic communication as

 4 described above.

 5          98.    The contents intercepted include personal information concerning the substance,

 6 purport, or meaning of that communication, including, but not limited to, viewing, and reading,

 7 personal information regarding the parties’ names, addresses, telephone numbers, email addresses,

 8 job titles, job functions and responsibilities, education, social medial URLs, and potentially other
 9 personal information.

10          99.    Interception of Plaintiffs and Class Members’ private electronic communications
11 without their consent occurred when ZoomInfo scanned Plaintiffs and Class Members’ electronic

12 communications for purposes of viewing, reading, capturing, and/or disseminating, Plaintiffs’ and

13 Class Members’ electronic communications by the use of the Contact Contributor software. This

14 interception occurred during transmission, as ZoomInfo operates in real time to acquire the content

15 of Plaintiffs’ and Class Members’ electronic communications. The contents of the electronic

16 communications intercepted are the written email correspondence between Plaintiffs and Class

17 Members.

18          100.   Plaintiffs and Class Members could not have, and did not, provide consent to

19 interception of their electronic communications because they lacked knowledge that such

20 interception was taking place, based on their reasonable expectations of privacy in email

21 communications and ZoomInfo’s own express and implied representations.

22          101.   Pursuant to 18 U.S.C. § 2511(1)(c), ZoomInfo intentionally disclosed, discloses, or

23 endeavored to disclose to third parties the contents of Plaintiffs’ and Class Members’ electronic

24 communications while knowing or having reason to know that the information was obtained through

25 the interception of the electronic communications in violation of 18 U.S.C. § 2511(1)(a).

26          102.   After ZoomInfo intentionally intercepts the contents of Plaintiffs’ and Class

27 Members’ electronic communications without their consent, the Contact Contributor recorded and

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 1 transmitted the intercepted communications over the internet to ZoomInfo’s servers for processing,

 2 analysis, storage, and archiving. ZoomInfo then intentionally shares, disseminates, discloses, and

 3 sells these intercepted electronic communications of Plaintiffs’ and Class Members’ to third parties

 4 in order to monetize Plaintiffs’ and Class Members’ private information, including by selling the

 5 information to marketers, recruiters, and other individuals for profit, without Plaintiffs’ and Class

 6 Members’ consent, and for tortious purposes and for the purpose of committing unfair business

 7 practices.

 8          103.   Although ZoomInfo is aware that the contents of Plaintiffs’ and Class Members’
 9 electronic communications were recorded without their knowledge or consent, ZoomInfo has

10 retained, utilized, disseminated, and sold the unlawfully captured information.

11          104.   Pursuant to 18 U.S.C. § 2511(1)(d), ZoomInfo intentionally used, uses, or endeavors
12 to use the contents of Plaintiffs’ and Class Members’ electronic communications knowing or having

13 reason to know that the electronic communication was obtained through interception in violation of

14 18 U.S.C. § 2511(1)(a).

15          105.   ZoomInfo intentionally uses the contents of Plaintiffs’ and Class Members’
16 intercepted communications to build out its database of contacts for ZoomInfo’s own financial,

17 commercial, and competitive benefit, and to generate substantial profit.

18          106.   The practices complained of in this Count fall outside of the scope of ZoomInfo’s

19 ordinary course of business because they violate ZoomInfo’s own policies and are in contradiction

20 to the generally understood manner in which email correspondence is transmitted and the reasonable

21 and permissible collection of users’ personal information from private channels of communication.

22 As such, the surreptitious viewing, reading, capturing, dissemination of Plaintiffs’ and Class

23 Members’ electronic communications do not facilitate the transmission of the electronic

24 communication at issue nor are such activities incidental to such transmission of such electronic

25 communication.

26          107.   ZoomInfo’s actions were at all relevant times knowing, willful, and intentional as

27 evidenced by ZoomInfo’s admission that the personal information it captures from Plaintiffs’ and

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 1 Class Members’ electronic communication is used to build out and improve ZoomInfo’s database.

 2 This expansion is intended to benefit ZoomInfo financially by allowing it to sell subscription

 3 programs and thus the collected personal information to third parties, including marketers,

 4 recruiters, and advertisers, and to generate significant profits.

 5          108.     ZoomInfo intercepted, disclosed, and used the contents of Plaintiffs and Class

 6 Members’ electronic communications in reckless disregard for Plaintiffs and Class Members’

 7 privacy rights and for its own financial benefit to profit from the improved quality of its proprietary

 8 database and sale of Plaintiffs’ and Class Members’ personal information to advertisers, marketers,
 9 and recruiters.

10          109.     As a result, Plaintiffs and Class Members have suffered harm and injury due to the
11 interception, disclosure, and/or use of their private, personal, and confidential communications.

12          110.     Pursuant to 18 U.S.C. § 2520, Plaintiffs and Class Members have been damaged by
13 the interception, disclosure, and/or use of their communications in violation of the Wiretap Act and

14 are entitled to: (1) appropriate equitable or declaratory relief; (2) damages, in an amount to be

15 determined at trial, assessed as the greater of (a) the sum of the actual damages suffered by Plaintiffs

16 and the Class and any profits made by ZoomInfo as a result of the violation or (b) statutory damages

17 of whichever is the greater of $100 per day per violation or $10,000; and (3) reasonable attorneys’

18 fees and other litigation costs reasonably incurred through this action.

19                                   SECOND CLAIM FOR RELIEF

20                          Violation of the Stored Communications Act (“SCA”)
                               Title II of the ECPA ( 18 U.S.C. § 2701 et seq.)
21                         (On Behalf of Subscriber and Non-Subscriber Classes)
            111.     Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with
22

23 the same force and effect as if fully restated herein.
          112. Plaintiffs bring this claim on behalf of the Nationwide Subscriber and Non-
24

25 Subscriber Class against all Defendants.

26

27

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 1          113.     The Stored Communications Act prohibits a person from intentionally accessing

 2 without (or excess of) authorization a facility through which an electronic communications service

 3 is provided and thereby obtaining an electronic communication while it is in “electronic storage.”

 4          114.     Plaintiffs allege that ZoomInfo intercepts communications while “in transit” and thus

 5 are in violation of the Wiretap Act. ZoomInfo, however, also intercepts the emails while they are in

 6 storage, through their Community Edition program’s “otherwise access to emails” feature. While

 7 the Contact Contributor intercepts emails in transmission, subscribers who do not install the

 8 software but provide access to their emails via the Community Edition program, their email
 9 messages are captured, accessed, viewed, read, or scanned by ZoomInfo, while in storage, in excess

10 of the authorization.

11          115.     The servers used by ZoomInfo to process the emails to Community Edition
12 subscribers are a “facility” within the meaning of the SCA.

13          116.     ZoomInfo, in excess of its authorization, captured, accessed, viewed, read, or
14 scanned the content of emails, containing personal information without their knowledge or consent.

15          117.     ZoomInfo’s actions were at all relevant times knowing, willful, and intentional as
16 evidenced by ZoomInfo’s admission that the personal information it captures from Plaintiffs’ and

17 Class Members’ electronic communication is used to build out and improve ZoomInfo’s database.

18 This expansion is intended to benefit ZoomInfo financially by allowing it to sell subscription

19 programs and thus the collected personal information to third parties, including marketers,

20 recruiters, and advertisers, and to generate significant profits.

21          118.     ZoomInfo intercepted, disclosed, and used the contents of Plaintiffs and Class

22 Members’ electronic communications in reckless disregard for Plaintiffs’ and Class Members’

23 privacy rights and for its own financial benefit to profit from the improved quality of its proprietary

24 database and sale of Plaintiffs’ and Class Members’ personal information to advertisers, marketers,

25 and recruiters.

26          119.     As a result, Plaintiffs and Class Members have suffered harm and injury due to the

27 interception, disclosure, and/or use of their private, personal, and confidential communications.

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 1          120.   Pursuant to 18 U.S.C. § 2707 (c), Plaintiffs and Class Members are entitled to

 2 minimum statutory damages of $1000 per person; punitive damages; costs and reasonable attorneys’

 3 fees.

 4                                    THIRD CLAIM FOR RELIEF

 5                  Violation of Washington’s Consumer Protection Act (“WCPA”)
                                   Wash Rev. Code §§ 19.86, et seq.
 6                      (On Behalf of Subscriber and Non-Subscriber Classes)
            121.   Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with
 7

 8 the same force and effect as if fully restated herein.
 9        122. Plaintiffs bring this claim on behalf of the Nation-Wide Subscriber and Non-

10 Subscriber Class against all Defendants.

11          123.   The Wash. Rev. Code § 19.86.020 prohibits “[u]nfair methods of competition and

12 unfair deceptive acts or practices in the conduct of any trade of commerce.”

13          124.   The Defendants here committed unfair acts and practices in violation of the Wash.

14 Rev. Code § 19.86.020 by violating Plaintiffs’ and Class Members right to privacy by surreptitiously

15 capturing, accessing, viewing, reading, or scanning of individuals’ personal information contained

16 within their electronic communications without their knowledge or consent. ZoomInfo’s subsequent

17 unauthorized disclosure, dissemination, sharing, sale, and misuse of those electronic

18 communications with third parties, including marketers, recruiters, and advertisers and for its own

19 commercial benefit, further violates the Wash. Rev. Code § 19.86.020.
            125.   Defendants misrepresent to the Plaintiffs and the Class that ZoomInfo does not
20

21 capture, access, view, read, or scan personal information contained in users’ electronic

22 communications, in violation of ZoomInfo’s own express and implied representations. It further

23 misrepresents that “No human being reads your email because of your use of Community Edition.”
          126. Notwithstanding these express and implied representations, ZoomInfo intercepts,
24

25 views, reads, and accesses users’ electronic email communications, and subsequently discloses,

26 disseminates, sells, and otherwise misuses without individuals’ knowledge or consent, their personal

27 information that ZoomInfo scraped off their email correspondence. It also admits to employing a

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 1 team of in-house human research analysts and data scientists to review data pieces that require

 2 another manual verification and improve the performance of the algorithm. Thus, despite

 3 ZoomInfo’s explicit representations that “no human being reads” emails by using Community

 4 Edition, ZoomInfo’s own admissions reveal the real truth about human review of Subscribers’ and

 5 Non-Subscribers’ email correspondence.

 6            127.   ZoomInfo committed its misconduct in the context of trade or commerce. ZoomInfo

 7 makes available its Community Edition service in exchange for valuable personal data in markets

 8 across the nation. Subscribers and non-subscribers of the Community Edition exchange emails
 9 across the nation. Additionally, ZoomInfo uses this covertly collected information for business

10 purposes affecting interstate commerce, including by providing such information and data to third

11 parties.

12            128.   ZoomInfo’s representations and omissions were material because they were likely to
13 deceive reasonable consumers to believe their data was private. Plaintiffs and Class Members

14 reasonably expected that ZoomInfo was not intercepting, viewing, reading, processing, capturing,

15 and/or disseminating their electronic communications transmitted via their electronic devices,

16 including their computers.

17            129.   The public interest is harmed by ZoomInfo’s conduct in viewing, reading,
18 processing, capturing and/or sharing the contents of the emails of the citizens of this State and the

19 Class Members who maintain a fundamental privacy interest in this information. Additionally, to

20 the extent that ZoomInfo uses this information for its own business purposes or transmits this

21 information to third parties for profit or other benefit, the Company is deriving an unfair competitive

22 advantage as a result of the covert collection of such information.

23            130.   Plaintiffs and the Class Members have been injured by compromising their private

24 and confidential information, which is valuable to them, and would not have installed Contact

25 Contributor if ZoomInfo had fully disclosed that it views, reads, processes, captures and/or shares

26 their email correspondences with third parties. Additionally, the Class Members have been harmed

27 in their privacy interest through this conduct.

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 1          131.    Plaintiffs and the Class Members relied on the representations by ZoomInfo and did

 2 not expect their private and confidential email correspondences to be viewed, read, processed,

 3 captured and/or shared. These considerations are material for the Class Members as

 4 reasonable consumers.

 5          132.    As a direct and proximate result of ZoomInfo’s unfair methods of competition and

 6 unfair or deceptive practices, Plaintiffs and the Class have suffered and will continue to suffer injury,

 7 ascertainable losses of money, and monetary and non-monetary damages. Plaintiffs’ and the Class

 8 members private content was exploited without their knowledge or consent. Accordingly, Plaintiffs
 9 and the Class are entitled to a part of ZoomInfo’s profits that were generated by their surreptitious

10 viewing, reading, processing, capturing and/or sharing their email correspondences.

11          133.    Plaintiffs and the Class Members are entitled to damages and reasonable attorney’s
12 fees and costs pursuant to Wash. Rev. Code § 19.86.090.

13
                                      FOURTH CLAIM FOR RELIEF
14                           Violation of the Washington Wiretapping Statute
                                         WA Rev. Code § 9.73.030
15                                    (On Behalf of Subscriber Class)
16          134.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with
17 the same force and effect as if fully restated herein.

18          135.    Plaintiffs brings this claim individually and on behalf of the Class.

19          136.    Wash. Rev. Code § 9.73.030 prohibits the interception or recording of a private

20 phone call, in-person conversation, or electronic communication, unless all parties to the

21 communication consent.

22          137.    Plaintiffs and Class Members have a reasonable expectation of privacy in their

23 email correspondence.

24          138.    When the Plaintiffs and Class Members installed or corresponded with a user of

25 Contact Contributor, ZoomInfo captured, accessed, viewed, read, or scanned individuals’ personal

26 information contained within their electronic communications without their knowledge or consent.

27 Moreover, ZoomInfo subsequently disclosed, disseminated, shared sold, and misused the scraped

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 1 personal information from such electronic communications to third parties, including marketers,

 2 recruiters, and advertisers and for its own commercial benefit.

 3          139.    ZoomInfo did so by their false and deceptive representations – i.e., that ZoomInfo

 4 does not capture, access, view, read, or scan personal information contained in users’ electronic

 5 communications, in violation of ZoomInfo’s own express and implied representations. ZoomInfo

 6 also misrepresented that “no human reads your email” by the use of Community Edition. The truth,

 7 however, is that despite these representations, ZoomInfo intercepts, views, reads, and accesses

 8 users’ electronic email communications, and subsequently discloses, disseminates, sells, and
 9 otherwise misuses their personal information that ZoomInfo scraped off their email correspondence

10 without individuals’ knowledge or consent. ZoomInfo also employs a team of in-house human

11 reviewers and data scientist to verify the data collected and improve the performance of

12 the algorithms.

13          140.    Plaintiffs and the Class had no reason to expect and did not expect that ZoomInfo is
14 viewing, reading, processing, capturing and/or sharing the content of their email correspondences.

15 Plaintiffs and Class Members reasonably relied on ZoomInfo’s representations and expected that

16 the Contact Contributor would perform as represented and that the content of their email

17 correspondences and private information would remain private.

18          141.     Plaintiffs and the Class did not consent to the content of their email correspondence

19 to be viewed, read, processed, captured and/or shared with third parties. Even worse, the non-

20 subscribers who correspond with the users of Community Edition, had no way of even knowing

21 about, let alone consenting to, such collection, sharing, and selling practices.

22          142.     ZoomInfo viewed, read, processed, captured and/or shared the content of private and

23 confidential email correspondences intentionally, for its own business purposes and to gain a profit

24 by building and continuously improving their database by the unlawfully collected information.

25          143.     ZoomInfo’s persistent collection of private and confidential information by viewing,

26 reading, processing, capturing and/or sharing the email correspondences of unsuspecting users,

27

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 1 without the consent of all parties to such communications, is in violation of Wash. Rev.

 2 Code § 9.73.030.

 3          144.    ZoomInfo’s intentional and unlawful conduct violated Plaintiffs’ and the Class’s

 4 right to privacy in their confidential communications as protected by Wash. Rev. Code § 9.73.030.

 5          145.    ZoomInfo’s intentional and unlawful conduct caused Plaintiffs and the Class injury

 6 to their dignity, well-being, and security.

 7          146.    Plaintiffs individually and on behalf of the Class seeks (1) damages equal to $100

 8 per day up to $1,000 under Wash. Rev. Code § 9.73.060; (2) reasonable attorney’s fees and costs
 9 under Wash. Rev. Code § 9.73.060.

10
                                        FIFTH CLAIM FOR RELIEF
11                               Breach of Contract under Washington law
                                      (on Behalf of Subscriber Class)
12
            147.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with
13
     the same force and effect as if fully restated herein.
14
            148.    Plaintiffs bring this claim individually and on behalf of the Subscriber Class.
15
     Plaintiffs and the Subscriber Class have each agreed to the Terms and Conditions and other policies
16
     governing the use of Community Edition and each has installed the Contact Contributor.
17
            149.    ZoomInfo’s Terms of Use and Privacy Policy purports to explain to users what
18
     information ZoomInfo views, reads, and captures after users subscribe for its free Community
19
     Edition program. The Privacy Policy gives several explicit assurances that ZoomInfo does not view
20
     or read users’ email content and that it only extracts “business information,” such as signature blocks
21
     within email messages and headers of users’ emails. Similarly, ZoomInfo’s Terms of Use guarantees
22
     that “no human being reads” users’ email as a result of users’ participation in the Community Edition
23
     program and that only business contact information and metadata from the email header are
24
     extracted into ZoomInfo’s database.
25
            150.    Despite these explicit assurances, ZoomInfo’s collection, sharing, and selling
26
     practices are in stark contrast of its representations. ZoomInfo, indeed intercepts, views, reads, and
27

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 1 accesses users’ electronic email communications, and subsequently discloses, disseminates, sells,

 2 and otherwise misuses without individuals’ knowledge or consent, their personal information that

 3 ZoomInfo scraped off their email correspondence. Moreover, ZoomInfo employs a team of human

 4 research analysts and data scientists to review data and for manual verification and to improve the

 5 performance of their algorithm.

 6          151.    By surreptitiously viewing, reading, processing, capturing and/or sharing contents of

 7 email correspondences with third parties, ZoomInfo has breached this contract. ZoomInfo failed to

 8 honor its promise to respect the user’s privacy and breached its obligations to the users. Moreover,
 9 ZoomInfo unauthorizedly disclosed, disseminated, sold, and otherwise misused without individuals’

10 knowledge or consent, their personal information that ZoomInfo scraped off their

11 email correspondence.

12          152.    The contract between ZoomInfo and the Class Members requires the Company to
13 not intercept, view, read, process, disclose, or otherwise misuses users’ personal information from

14 their email correspondences. By the conduct alleged herein, ZoomInfo has breached this contract

15 and caused the Class Members’ private information to be viewed, read, processed, disclosed, and

16 misused.

17          153.    Plaintiffs have a reasonable privacy interest and attach a considerable value to their
18 content and information contained in their email correspondences. The Class Members relied on the

19 representations of ZoomInfo and believed that the content of their email correspondences

20 remains private.

21          154.    As a result of the conduct by ZoomInfo, Plaintiffs have been harmed and have

22 suffered damages by losing the value of their content and information.

23                                    SIXTH CLAIM FOR RELIEF

24                  California Invasion of Privacy Act, Cal. Penal Code § 630, et seq.
                             (on Behalf of California Non-Subscriber Class)
25          155.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with
26 the same force and effect as if fully restated herein.

27

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 1          156.   Under California’s Invasion of Privacy Act (“CIPA”), it is unlawful to intentionally,

 2 willfully, and without consent tap or make any unauthorized connection by means of any machine,

 3 instrument, or contrivance, or in any other manner with any telegraph or telephone wire, line, cable,

 4 or instrument, in order to purposefully intercept a communication or its content that is in transit or

 5 passing over any wire, line, or cable, or is being sent from or received within California; and to use,

 6 attempt to use, or communicate any such information obtained by these means. See Cal. Penal

 7 Code § 631.

 8          157.   Pursuant to Cal. Penal Code § 7 and § 632(b), ZoomInfo, as a corporation, is
 9 a “person.”

10          158.   Plaintiffs and Class Members exchanged electronic communication via their
11 respective email accounts during the Class Period by using their computers, smart phones, tablets,

12 and other electronic devices.

13          159.   Plaintiffs and Class Members reasonably expected that ZoomInfo was not
14 intercepting, viewing, reading, processing, capturing, and/or disseminating their electronic

15 communications transmitted via their electronic devices, including their computers based on: (i) the

16 context in which these private electronic communications occurred, namely personal and

17 professional settings at Plaintiffs’ home, workplace and other private areas, to which access of all

18 other persons is prohibited absent Plaintiffs’ consent; (ii) a general understanding of how email

19 communications are transmitted, delivered, and shared, and based on ZoomInfo’s own assurances;

20 and (iii) ZoomInfo’s status as a party to those electronic communications who was not an intended

21 party to or recipient of Plaintiffs’ and Class Members’ private and confidential electronic

22 communications.

23          160.   ZoomInfo, through its design, authorship, programming, knowing and intentional

24 installation, activation, and/or other involvement with the Contact Contributor software

25 intentionally, willfully, and without consent, made unauthorized connections with Plaintiffs’ and

26 Class Members’ email accounts to purposefully intercept communications in transit. See Cal. Penal

27

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 1 Code § 631. The contents were captured, processed, disseminated, or otherwise misused by

 2 ZoomInfo.

 3          161.    The contents intercepted include personal information concerning the substance,

 4 purport, or meaning of that communication, including, but not limited to, viewing and reading

 5 personal information regarding the parties’ names, addresses, telephone numbers, email addresses,

 6 job titles, job functions and responsibilities, education, social media profiles, and potentially other

 7 personal information.

 8          162.    Furthermore, ZoomInfo used, attempted to use, and disseminated the personal
 9 information it unlawfully obtained through the use of the Contact Contributor software to third

10 parties, including marketers, recruiters, and advertisers.

11          163.    Plaintiffs and Class Members could not, and did not, provide consent to interception
12 of their electronic communications because they lacked knowledge that such interception was taking

13 place, based on their expectation of privacy in email communications and ZoomInfo’s own express

14 and implied representations.

15          164.    Although ZoomInfo is aware that the contents of Plaintiffs’ and Class Members’
16 electronic communications were recorded without their knowledge or consent, ZoomInfo has

17 retained, utilized, disseminated, and sold the unlawfully captured information.

18          165.    As a result of ZoomInfo’s violations of CIPA, Plaintiffs and Class Members have

19 suffered harm and injury, including but not limited to the invasion of their privacy rights.

20          166.    ZoomInfo is able to destroy the unauthorized recordings of Plaintiffs’ and the Class

21 Members’ electronic communications, and to implement functionality sufficient to prevent

22 unauthorized capturing of Plaintiffs’ and Class Members’ electronic communication in the future,

23 and the Court should require that it does so.

24          167.    As an actual and proximate result of the above actions, Plaintiffs and Class members

25 have been injured and suffered actual damages in an amount to be determined at trial. For each

26 violation of CIPA by ZoomInfo, Plaintiffs and Class members are entitled to damages pursuant

27 California Penal Code § 637.2 of $5,000 or three times the amount of their actual damages (at their

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 1 election). See Cal. Penal Code § 637.2. Plaintiffs and Class members are also entitled to injunctive

 2 relief, including, but not limited to, an order: (1) prohibiting ZoomInfo from collecting and then

 3 disclosing their and the Class’s personal information; (2) requiring it to inform existing and potential

 4 consumers of its Contact Contributor program, including its very existence and true nature; and (3)

 5 requiring it to disable the Contact Contributor until consumers affirmatively consent (or opt in) to

 6 its use.

 7                                    SEVENTH CLAIM FOR RELIEF
 8                                        Intrusion Upon Seclusion
                               (on Behalf of California Non-Subscriber Class)
 9
              168.   Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with
10
     the same force and effect as if fully restated herein.
11
              169.   Plaintiffs asserting claims for intrusion upon seclusion must plead (1) that the
12
     defendant intentionally intruded into a place, conversation, or matter as to which plaintiff had a
13
     reasonable expectation of privacy; and (2) that the intrusion was highly offensive to a
14
     reasonable person.
15
              170.   ZoomInfo’s collection, sharing, and selling practices, specifically Contact
16
     Contributors’ scanning, reading, and viewing personal information in electronic email
17
     communications between Subscribers and third parties without their consent, constituted an
18
     intentional intrusion upon the Plaintiffs and Class Members’ solitude or seclusion, in which
19
     ZoomInfo effectively placed itself in the middle of the email correspondences, to which it was not
20
     anticipated, invited, welcomed, or authorized.
21
              171.   Plaintiffs and Class Members did not consent to, authorize, or know about
22
     ZoomInfo’s intrusion at the time it occurred. Plaintiffs and Class Members never agreed or
23
     consented that ZoomInfo would intercept, view, read, process, disclose, or otherwise misuse users’
24
     information from their email correspondences and never agreed or authorized such surreptitiously
25
     collected information to subsequently be disclosed, disseminated, shared, sold, or misused.
26

27

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 1          172.    ZoomInfo’s intentional intrusion on Plaintiffs’ and Class Members’ solitude or

 2 seclusion without consent would be highly offensive to a reasonable person. Plaintiffs and Class

 3 Members reasonably expected, based on a general understanding, and based on ZoomInfo’s own

 4 assurances, that ZoomInfo did not capture, access, view, read, or scan personal information

 5 contained in users’ electronic communications.

 6          173.    ZoomInfo’s intentional intrusion into Plaintiffs’ and Class Members’ private

 7 conversations was highly offensive to a reasonable person’s privacy interest in that it violated

 8 federal and state criminal and civil laws designed to safeguard individual privacy.
 9          174.    The surreptitious taking and disclosure of personal, confidential, and private
10 information from hundreds of thousands of individuals was highly offensive because it violated

11 expectations of privacy that have been established by general social norms. Privacy polls and studies

12 consistently show that the overwhelming majority of Americans believe one of the most important

13 privacy rights is the need for an individual’s affirmative consent before personal data is harvested

14 or shared.

15          175.    ZoomInfo intentionally engages in the misconduct alleged herein to improve its
16 database of business entities and individuals, for ZoomInfo’s own financial benefit by selling access

17 to its database to customers who then use that information to target personalized advertising to users,

18 and to generate substantial profit.

19          176.    As a result of ZoomInfo’s actions, Plaintiffs and Class Members have suffered harm

20 and injury, including but not limited to the invasion of their privacy rights.

21          177.    Unwanted access to data by electronic or other covert means, in violation of the law

22 or social norms is actionable under California law.

23          178.    Plaintiffs and Class Members have been damaged as a direct and proximate result of

24 ZoomInfo’s invasion of their privacy and are therefore entitled to just compensation.

25          179.    Plaintiffs and the Class seek appropriate relief for that injury, including but not

26 limited to damages that will reasonably compensate Plaintiff and Class Members for the harm to

27

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 1 their privacy interests as well as disgorgement of profits made by ZoomInfo as a result of its repeated

 2 and unscrupulous intrusions upon Plaintiffs’ and Class Members’ privacy.

 3                                    EIGHTH CLAIM FOR RELIEF
 4                                           Invasion of Privacy
                                Art. I, Sec. 1 of the California Constitution
 5                            (on Behalf of California Non-Subscriber Class)
 6          180.   Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

 7 the same force and effect as if fully restated herein.

 8          181.   Article I, section 1 of the California Constitution provides: “All people are by nature
 9 free and independent and have inalienable rights. Among these are enjoying and defending life and

10 liberty, acquiring, possessing, and protecting property, and pursuing and obtaining safety,

11 happiness, and privacy.” Art. I., Sec. 1, Cal. Const.

12          182.   To state a claim for invasion of privacy under the California Constitution, a plaintiff
13 must establish (1) a legally protected privacy interest; (2) a reasonable expectation of privacy; and

14 (3) an intrusion so serious in nature, scope, and actual or potential impact as to constitute an

15 egregious breach of the social norms.

16          183.   The right to privacy in California’s constitution creates a right of action against
17 private and government entities.

18          184.   ZoomInfo has intruded upon Plaintiffs’ and Class Members’ legally protected

19 privacy interests, including, inter alia: (i) interests in precluding the dissemination or use of

20 confidential information (“informational privacy”); (ii) interests in making intimate personal

21 decisions or conducting personal activities without observation, intrusion, or interference

22 (“autonomy privacy”); (iii) the Wiretap Act as alleged herein; and (iv) the Community Edition

23 Terms of Use and other ZoomInfo’s public assurances that ZoomInfo does not capture, access, view,

24 read, or scan personal information contained in users’ electronic communications, in violation of

25 ZoomInfo’s own express and implied representations.

26          185.   The personal information, which ZoomInfo intercepted, viewed, read, processed,

27 disclosed, or otherwise used without Plaintiffs’ and Class Members’ authorization and/or consent

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 1 includes her full name, place of employment, her position, years of experience and her contact

 2 information, including her cell phone number. Plaintiffs and Class Members had a legally protected

 3 informational privacy interest in the personal information as well as an autonomy privacy interest

 4 in conducting their personal activities without observation, intrusion, or interference.

 5          186.    Plaintiffs and Class Members have a reasonable expectation of privacy under the

 6 circumstances in that: (i) Defendants’ invasion of privacy occurred in the context of non-public

 7 electronic email communication between Plaintiffs and Class Members and to the exclusion of

 8 everyone else; (ii) Plaintiffs and Class Members did not consent or otherwise authorize ZoomInfo
 9 to intercept, view, read, process, discloses, or otherwise misuse users’ personal information; (iii)

10 Plaintiffs and Class Members could not reasonably expect that ZoomInfo would commit acts in

11 violation of federal and state civil and criminal laws protecting privacy; (iv) ZoomInfo affirmatively

12 assured Plaintiffs and Class Members it would not capture, access, view, read, or scan personal

13 information contained in users’ electronic communications, and subsequently disclose, disseminate,

14 share, sell, and misuse such private information to third parties, including marketers, recruiters, and

15 advertisers and for its own commercial benefit.

16          187.    ZoomInfo’s actions constituted a serious invasion of privacy that would be highly
17 offensive to a reasonable person in that: (i) the invasion occurred within a zone of privacy protected

18 by the California Constitution, namely, the collection and stockpiling of unnecessary information

19 by businesses without consent, and the misuse of information gathered for one purpose in order to

20 serve other purposes; (ii) the invasion deprived Plaintiffs and Class Members of the ability to control

21 circulation of personal information, which is considered fundamental to the right to privacy; and

22 (iii) the invasion violated several federal and state criminal laws.

23          188.    ZoomInfo’s invasion violated the privacy rights of hundreds of thousands, if not

24 millions, of Class Members, including Plaintiffs, without their authorization or consent. Committing

25 criminal acts against hundreds of thousands of Class Members, including Plaintiffs, constituted an

26 egregious breach of social norms.

27

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 1          189.    The surreptitious and unauthorized interception, viewing, reading, processing,

 2 disclosing, or otherwise misusing users’ personal information of hundreds of thousands of Class

 3 Members, including Plaintiffs’, personal information constituted an egregious breach of social

 4 norms.

 5          190.    ZoomInfo intentionally engages in the misconduct alleged herein to improve its

 6 database of business entities and professionals for its own financial benefit, and to generate

 7 substantial profit.

 8          191.    As a result of ZoomInfo’s actions, Plaintiffs and Class Members have been damaged
 9 as a direct and proximate result of ZoomInfo’s invasion of their privacy and are entitled to

10 just compensation.

11          192.    Plaintiffs and the Class seek appropriate relief for that injury, including but not
12 limited to damages that will reasonably compensate Plaintiffs and Class Members for the harm to

13 their privacy interests as well as disgorgement of profits made by ZoomInfo as a result of its

14 intrusions upon Plaintiffs’ and Class Members’ privacy.

15
                                       NINTH CLAIM FOR RELIEF
16                         Violation of the California Unfair Competition Law
                            Cal. Business & Professions Code §17200, et seq.
17                           (on Behalf of California Non-Subscriber Class)
18          193.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

19 the same force and effect as if fully restated herein.

20          194.    The UCL protects consumers and competitors by promoting fair competition in

21 commercial markets for goods and services.

22          195.    The UCL prohibits any unlawful, unfair, or fraudulent business act or practice,

23 including the employment of any deception, fraud, false pretense, false promise, misrepresentation,

24 or the concealment, suppression, or omission of any material fact.

25          196.    Defendants violated the UCL by engaging in unlawful, unfair, and fraudulent

26 business acts or practices.

27

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 1          197.   ZoomInfo engaged in business acts and practices deemed “unlawful” under the UCL,

 2 because, as alleged above, ZoomInfo unlawfully intercepted, viewed, read, captured, disseminated,

 3 and otherwise misused Plaintiffs’ and Class Members’ email communications without consent in

 4 violation of federal and state laws and statutes.

 5          198.   ZoomInfo also engaged in business acts or practices deemed “unfair” under the UCL

 6 because, as alleged above, ZoomInfo failed to disclose during the Class Period that ZoomInfo was

 7 intercepting, viewing, reading, capturing, disseminating, and otherwise misusing Plaintiffs’ and

 8 Class Members’ email communications without their consent. Unfair acts under the UCL have been
 9 interpreted using three different tests: (1) whether the public policy which is a predicate to a

10 consumer unfair competition action under the unfair prong of the UCL is tethered to specific

11 constitutional, statutory, or regulatory provisions; (2) whether the gravity of the harm to the

12 consumer caused by the challenged business practice outweighs the utility of the defendant’s

13 conduct; and (3) whether the consumer injury is substantial, not outweighed by any countervailing

14 benefits to consumers or competition, and is an injury that consumers themselves could not

15 reasonably have avoided. Defendants’ conduct is unfair under each of these tests.

16          199.   With respect to the first test regarding unfair acts under the UCL, ZoomInfo’s
17 conduct offends the public policy considerations of the various federal and state statutes, as well as

18 state constitutional provisions, referenced above. As to the second test, the gravity of the harm of

19 ZoomInfo’s secret intercepting, viewing, reading, capturing, and otherwise misusing of Plaintiffs’

20 and Class Members’ electronic communications is significant and there is no corresponding benefit

21 to consumers of such conduct. Finally, because Plaintiffs and Class Members were completely

22 unaware of ZoomInfo’s secret interception, recording and disclosure, they could not have possibly

23 avoided the substantial harm to their privacy interests.

24          200.   Had the Plaintiffs known that her electronic communications would be intercepted,

25 viewed, read, captured, and misused, they would not have subscribed to the Community Edition

26 program, would have not relinquished their personal information, and would not permit ZoomInfo

27 access to their email accounts, or would have not shared personal information via their electronic

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 1 communication. Plaintiffs and Class Members have a property interest in any personal information

 2 they provided via electronic communications. By surreptitiously intercepting, viewing, reading,

 3 capturing or otherwise misusing Plaintiffs’ and Class Members’ electronic communications,

 4 ZoomInfo has taken property from Plaintiffs and Class Members without providing just or

 5 any compensation.

 6          201.    Plaintiffs, individually and on behalf of the Class, seek: (1) an injunction enjoining

 7 ZoomInfo from engaging in the unlawful conduct alleged in this claim and requiring ZoomInfo to

 8 delete all personal information of Plaintiffs and Class Members, to cease further interceptions, to
 9 implement functionality sufficient to prevent unauthorized interception in the future, to cease

10 disclosing communications of the Plaintiffs’ and the Class to third parties without prior consent, and

11 other appropriate equitable relief, including but not limited to improving its privacy disclosures and

12 obtaining adequately informed consent.

13
                                      TENTH CLAIM FOR RELIEF
14           Violation of Florida’s Deceptive And Unfair Trade Practices Act (“FDUTPA”)
                                       Fla. Stat. § 501.201, et seq.
15                             (on Behalf of Florida Non-Subscriber Class)
16          202.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with
17 the same force and effect as if fully restated herein.

18          203.    Plaintiffs and each member of the Class are “consumers” as defined by Fla.

19 Stat § 501.203(7).

20          204.    Defendants through their conduct alleged herein, are engaged in “trade or commerce”

21 as defined by Fla. Stat. § 501.203(8).

22          205.    The FDUTPA was enacted to protect consumers and businesses from unfair methods

23 of competition, unconscionable acts, or practices, and unfair or deceptive acts or practices in the

24 conduct of any trade or commerce.

25          206.    To achieve its purpose, FDUTPA declares as unlawful all unfair methods of

26 competition, unconscionable acts, or practices, and unfair or deceptive acts or practices in the

27 conduct of any trade or commerce.

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 1          207.   ZoomInfo violated the FDUTPA because their conduct, as alleged herein, is

 2 deceptive and unfair.

 3          208.   Defendants’ conduct is deceptive because it is likely to mislead a reasonable

 4 consumer. ZoomInfo seeks to create the impression that it respects Plaintiffs’ and other Class

 5 Members’ privacy. ZoomInfo’s Terms of Use and Privacy Policy give several explicit assurances

 6 that ZoomInfo does not view or read users’ email content and that it only extracts Business

 7 Information. Similarly, ZoomInfo’s Terms of Use guarantees that “no human being reads” users’

 8 email as a result of users’ participation in the Community Edition. Notwithstanding these express
 9 and implied representations, ZoomInfo intercepts, views, reads, and accesses users’ electronic email

10 communications, and subsequently discloses, disseminates, sells, and otherwise misuses without

11 individuals’ knowledge or consent, their personal information that ZoomInfo scraped off their email

12 correspondence. Besides the Terms of Use, Privacy Policy, ZoomInfo websites, and/or the Privacy

13 Notice, ZoomInfo publishes on its website, numerous other documents, and web pages that purport

14 to describe its practice of collecting, sharing, and selling information collected via its Community

15 Edition Program.

16          209.   The terms and conditions governing a consumer product are a material term of any
17 transaction in that they directly affect a consumer’s choice and conduct in purchasing a product or

18 service. The only way for a ZoomInfo customer to determine what ZoomInfo is actually doing with

19 their emails and the information contained therein is to sort through dozens of different documents

20 spread across several web pages and somehow piece together a “contract” from various portions of

21 one or more of these documents. Even if a ZoomInfo user manages to locate all the relevant

22 documents, ZoomInfo’s description of what it does with its users’ emails and the contents thereof

23 are confusing, incomplete, and sometimes contradictory.

24          210.   ZoomInfo also fails to inform individuals that ZoomInfo does, in fact, view the

25 entirety of Subscribers’ incoming and outgoing communications to extract and include information

26 in their database. This is also true for unsuspecting non-users, who never subscribed or interacted

27 with ZoomInfo and have no way of knowing, and thus consenting to ZoomInfo’s interception.

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 1          211.    Defendants’ failure to disclose these material terms as well as Defendants’ failure to

 2 gain consumer consent to allow Defendants to view, read, process, capture and/or share email

 3 correspondence with third parties without their consent or knowledge, deceived consumers into

 4 believing they were not compromising their private information.

 5          212.    Had Defendants disclosed to consumers that their Contact Contributor Software

 6 helped create ZoomInfo’s database by parsing of email content, and that consumer’s private and

 7 confidential email content would be viewed, read, processed, captured and/or shared without

 8 consumer consent and knowledge, consumers would not have installed Contact Contributor. The
 9 data of Florida Non-Subscriber Subclass would not have been viewed, read, processed, captured

10 and/or shared with third parties merely by exchanging email correspondence with Subscribers.

11          213.    Defendants’ conduct is unfair because it offends established public policy and is
12 immoral, unethical, oppressive, unscrupulous, and substantially injurious to consumers.

13          214.    Defendants’, by surreptitiously viewing, reading, processing, capturing and/or
14 sharing, and selling of the email correspondence, which are private and hold a reasonable

15 expectation of privacy, to third parties, including marketers, recruiters, and advertisers without their

16 consent or knowledge, prevents the Florida Non-Subscriber Subclass from avoiding ZoomInfo’s

17 data collection, sharing, and selling practices and from protecting their right to privacy and their

18 right to control the dissemination of their personal information.

19          215.    ZoomInfo knew or had reason to know that the Florida Non-Subscriber Subclass

20 could not have reasonably known or discovered the existence of such surreptitiously monitoring,

21 collecting, and reading consumer’s private and confidential emails and other information, without

22 disclosure by ZoomInfo.

23          216.    Defendants’ conduct caused direct harm to the privacy rights of the Florida Subclass

24 and harmed their ability to control the dissemination of their private and confidential information.

25          217.    Pursuant to Fla. Stat. § 501.211, Plaintiffs seek an order (1) requiring Defendants to

26 cease the deceptive and unfair practices described herein; (2) requiring Defendants to pay damages

27

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 1 to Plaintiffs and the Florida Non-Subscriber Subclass; and (3) awarding attorney’s fees and

 2 court costs.

 3                                   ELEVENTH CLAIM FOR RELIEF
 4                             Violation Of N.Y. Gen. Bus. Law §§ 349 & 350
                               (on Behalf of New York Non-Subscriber Class)
 5
            218.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with
 6
     the same force and effect as if fully restated herein.
 7
            219.    N.Y. Gen. Bus. Law § 349 prohibits deceptive acts or practices in the conduct of any
 8
     business, trade, or commerce or in the furnishing of any service in this state.
 9
            220.    N.Y. Gen. Bus. Law § 350 declares as unlawful false advertising in the conduct of
10
     any business, trade, or commerce or in the furnishing of any service in this state.
11
            221.    Defendants’ conduct as alleged herein is covered under New York Gen. Bus. Law
12
     §§ 349 and 350 because such conduct is properly defined as consumer-oriented conduct.
13
            222.    Defendants’ omission regarding the surreptitious capturing, accessing, viewing,
14
     reading, or scanning of individuals’ personal information and its subsequent unauthorized
15
     disclosure, dissemination, sharing, sale, and misuse of such personal information to third parties,
16
     including marketers, recruiters, and advertisers, deceives consumers at large and has invaded the
17
     privacy rights of millions of consumers and other people.
18
            223.    Defendants violated N.Y. Gen. Bus. Law §§ 349 & 350 by engaging in conduct that
19
     is likely to mislead a reasonable consumer.
20
            224.    The terms and conditions governing a consumer product are a material term of any
21
     transaction in that they directly affect a consumer’s choice and conduct in purchasing a product
22
     or service.
23
            225.    Despite the importance of terms and conditions in consumer purchase decisions,
24
     Defendants do not disclose that ZoomInfo captures, accesses, views, reads, or scans personal
25
     information contained in users’ email communications, in violation of ZoomInfo’s own express and
26
     implied representations. ZoomInfo fails to inform third parties who never subscribed or interacted
27

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 1 with ZoomInfo and have no way of knowing or consenting to ZoomInfo’s interception, or knowing

 2 that ZoomInfo does, in fact, view the entirety of Subscribers’ incoming and outgoing

 3 communications to continuously build and improve their database. On the contrary, ZoomInfo

 4 highlights, in their Terms and Conditions that “No human being reads your email because of your

 5 use of Community Edition.”

 6         226.    ZoomInfo’s failure to disclose these material terms as well as Defendants’ failure to

 7 gain consumer consent for their Contact Contributor to scan, read, or otherwise review the contents

 8 of their email correspondence with third parties deceived consumers into believing they were not
 9 compromising their confidential/private information.

10         227.    Had ZoomInfo disclosed to consumers that their Contact Contributor Software
11 employed viewing, reading, processing, capturing and/or sharing the content of their email

12 correspondences and extracting personal information, without their consent and knowledge,

13 consumers would not have installed Defendants’ Software. Therefore, private and confidential

14 information of the New York Subclass would not have been comprised by their email

15 correspondences with users of Community Edition.

16         228.    ZoomInfo’s conduct is unfair because it offends established public policy and is
17 immoral, unethical, oppressive, unscrupulous, and substantially injurious to consumers.

18         229.    ZoomInfo, by surreptitiously viewing, reading, processing, capturing and/or sharing

19 email correspondences of unsuspecting third parties, without their knowledge and consent, in which

20 they had a reasonable expectation of privacy, prevents Members of the New York Non-Subscriber

21 Subclass from avoiding ZoomInfo’s data collection, sharing, and selling practices and from

22 protecting their right to privacy and their right to control the dissemination of their personal

23 information.

24         230.    ZoomInfo’s conduct caused direct harm to the privacy rights of the New York Non-

25 Subscriber Subclass and harmed their ability to control the dissemination of their private and

26 confidential information.

27

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 1          231.     Pursuant to N.Y. Gen. Bus. Law § 349(h), Plaintiffs seek an order (1) requiring

 2 Defendants to cease the deceptive and unfair practices described herein; (2) requiring Defendants to

 3 pay damages to Plaintiffs and New York Non-Subscriber Subclass or $50 dollars to Plaintiffs and

 4 each such class member, whichever is greater; (3) treble damages for Defendants knowing and

 5 willful violations; and (4) awarding attorney’s fees and court costs.

 6                                   TWELFTH CLAIM FOR RELIEF
                   Violations of the Illinois Consumer Fraud and Deceptive Business Practices Act
 7
                                          815 Ill. Comp. stat. Ann. §§ 505 et seq.
 8                                    (On Behalf of Illinois Non-Subscriber Class)

 9          232.     Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

10 the same force and effect as if fully restated herein.

11          233.     ZoomInfo is a “person” as defined by 815 Ill. Comp. Stat. Ann. §§ 505/1(c). Plaintiffs

12 are consumers as defined by 815 Ill. Comp. Ann. §§ 505/1(e).

13          234.     ZoomInfo’s deceptive, unfair, and unlawful trade acts or practices are in violation of

14 815 Ill. Comp. Stat. Ann. §§ 505/2.

15          235.     Defendants’ omission regarding the surreptitious viewing, reading, processing,

16 capturing and/or sharing of consumer’s private and confidential email correspondence and by selling

17 or otherwise disclosing that information to third parties without consumer consent or knowledge

18 deceives consumers at large, and has invaded the privacy rights of millions of consumers and

19 other people.

20          236.     Defendants violated 815 Ill. Comp. Stat. Ann. §§ 505 et seq. by engaging in conduct

21 that is likely to mislead a reasonable consumer. ZoomInfo seeks to create the impression that it

22 respects Plaintiffs’ and other Class Members’ privacy. ZoomInfo’s Terms of Use and Privacy Policy

23 purport to explain to users what information ZoomInfo views, reads, and captures after users

24 subscribe for its free Community Edition program. The Privacy Policy gives several explicit

25 assurances that ZoomInfo does not view or read users’ email content and that it only extracts

26 “business information,” such as signature blocks within email messages and headers of users’

27 emails. Similarly, ZoomInfo’s Terms of Use expressly guarantees that “no human being reads”

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 1 users’ email as a result of users’ participation in the Community Edition program and that only

 2 business contact information and metadata from the email header are extracted into ZoomInfo’s

 3 database.

 4          237.    Besides the Terms, Privacy Policy, ZoomInfo websites, and/or the Privacy Notice,

 5 ZoomInfo publishes on its website numerous other documents and pages that purport to describe its

 6 practice of collecting, sharing, and selling information collected via its Community Edition

 7 Program. The only way for a ZoomInfo customer to determine what ZoomInfo is actually doing

 8 with their emails and the information contained therein is to sort through dozens of different
 9 documents spread across several web pages, and somehow piece together a “contract” from various

10 portions of one or more of these documents. Even if a ZoomInfo user manages to locate all of the

11 relevant documents, ZoomInfo’s description of what it does with its users’ emails and the contents

12 thereof are confusing, incomplete, and sometimes contradictory.

13          238.    Plaintiffs and Class Members reasonably expected that ZoomInfo was not
14 intercepting, viewing, reading, processing, capturing, and/or disseminating their electronic

15 communications transmitted via their electronic devices, including their computers.

16          239.    Notwithstanding these representations, ZoomInfo intercepts, views, reads, processes,
17 discloses, or otherwise misuses users’ personal information. ZoomInfo also engages in unauthorized

18 disclosure, dissemination, sale of such personal information to marketers, recruiters, and advertisers.

19 Importantly, ZoomInfo employs a team of in-house human analysts and data scientists to verify the

20 collected information and improve the performance of their algorithm.

21          240.    The terms and conditions governing a consumer product are a material term of any

22 transaction in that they directly affect a consumer’s choice and conduct in purchasing a product

23 or service.

24          241.    Despite the importance of terms and conditions in consumer purchase decisions,

25 Defendants do not disclose that email correspondence of the consumers would be viewed, read,

26 processed, captured and/or shared by ZoomInfo with third parties without their consent or

27 knowledge and that they use human research and verification.

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 1          242.   Defendants’ failure to disclose these material terms as well as Defendants’ failure to

 2 gain consumer consent to allow Defendants to view, read, process, capture and/or share the content

 3 of email correspondence by use of their algorithms as well as human reviewers, deceived consumers

 4 into believing they were not compromising their private information.

 5          243.   Had Defendants disclosed to Class Members that Contact Contributor Software

 6 collected private information from scraping email correspondences, consumers would not have used

 7 Community Edition. The private and confidential information of the Illinois Subclass would not

 8 have been comprised by their email correspondences with users of Community Edition.
 9          244.   Defendants’ conduct is unfair because it offends established public policy and is
10 immoral, unethical, oppressive, unscrupulous, and substantially injurious to consumers.

11          245.   Defendants by surreptitiously viewing, reading, processing, capturing. and sharing
12 private and confidential electronic correspondence with third parties without consumer consent or

13 knowledge, prevented Members of the Illinois Subclass from avoiding its data practices and from

14 protecting their privacy rights and their rights to control the dissemination of their own

15 personal information.

16          246.   Defendants’ conduct caused direct harm to the privacy rights of the Illinois Subclass
17 and harmed their ability to control the dissemination of their private and confidential information.

18          247.   Plaintiffs’ personal content was exploited without informed consent and

19 Accordingly, Plaintiffs are entitled to part of ZoomInfo’s profits that were generated by their

20 personal content without their consent or knowledge.

21          248.   Plaintiffs seek all monetary and non-monetary relief allowed by law, including

22 damages, punitive damages, injunctive relief, and reasonable attorneys’ fees and costs.

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 1                               THIRTEENTH CLAIM FOR RELIEF

 2                 Violation of Connecticut’s Unfair Trade Practices Act (“CUTPA”)
                                   Conn. Gen. Stat. § 42-110a et seq.
 3                           (on Behalf of Connecticut Non-Subscriber Class)
 4          249.   Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

 5 the same force and effect as if fully restated herein.

 6          250.   Defendants’ actions as above described constitute unfair or deceptive act or practices

 7 in violation of CUTPA, Conn. Gen. Stat. § 42-110(b)a in conduct of trade or commerce.

 8          251.   ZoomInfo violated the CUTPA because their conduct, as alleged herein, is deceptive

 9 and unfair.

10          252.   Defendants’ conduct is deceptive because it is likely to mislead a reasonable

11 consumer. ZoomInfo seeks to create the impression that it respects Plaintiffs’ and other Class

12 Members’ privacy. ZoomInfo’s Terms of Use and Privacy Policy give several explicit assurances

13 that ZoomInfo does not view or read users’ email content and that it only extracts Business

14 Information. Similarly, ZoomInfo’s Terms of Use guarantees that “no human being reads” users’

15 email as a result of users’ participation in the Community Edition. Notwithstanding these express

16 and implied representations, ZoomInfo intercepts, views, reads, and accesses users’ electronic email

17 communications, and subsequently discloses, disseminates, sells, and otherwise misuses without

18 individuals’ knowledge or consent, their personal information that ZoomInfo scraped off their email

19 correspondence. Besides the Terms of Use, Privacy Policy, ZoomInfo websites, and/or the Privacy

20 Notice, ZoomInfo publishes on its website, numerous other documents, and web pages that purport

21 to describe its practice of collecting, sharing, and selling information collected via its Community

22 Edition Program.

23          253.   The terms and conditions governing a consumer product are a material term of any

24 transaction in that they directly affect a consumer’s choice and conduct in purchasing a product or

25 service. The only way for a ZoomInfo customer to determine what ZoomInfo is actually doing with

26 their emails and the information contained therein is to sort through dozens of different documents

27 spread across several web pages and somehow piece together a “contract” from various portions of

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 1 one or more of these documents. Even if a ZoomInfo user manages to locate all of the relevant

 2 documents, ZoomInfo’s description of what it does with its users’ emails and the contents thereof

 3 are confusing, incomplete, and sometimes contradictory.

 4          254.    ZoomInfo also fails to inform individuals that ZoomInfo does, in fact, view the

 5 entirety of Subscribers’ incoming and outgoing communications to extract and include information

 6 in their database. This is also true for unsuspecting non-users, who never subscribed or interacted

 7 with ZoomInfo and have no way of knowing, and thus consenting to ZoomInfo’s interception.

 8          255.    Defendants’ failure to disclose these material terms as well as Defendants’ failure to
 9 gain consumer consent to allow Defendants to view, read, process, capture and/or share email

10 correspondence with third parties without their consent or knowledge, deceived consumers into

11 believing they were not compromising their private information.

12          256.    Had Defendants disclosed to consumers that their Contact Contributor Software
13 helped create ZoomInfo’s database by parsing of email content, and that consumer’s private and

14 confidential email content would be viewed, read, processed, captured and/or shared without

15 consumer consent and knowledge, consumers would not have installed Contact Contributor. The

16 data of Connecticut Non-Subscriber Subclass would not have been viewed, read, processed,

17 captured and/or shared with third parties merely by exchanging email correspondence with

18 Subscribers.

19          257.    Defendants’ conduct is unfair because it offends established public policy and is

20 immoral, unethical, oppressive, unscrupulous, and substantially injurious to consumers.

21          258.    Defendants’, by surreptitiously viewing, reading, processing, capturing and/or

22 sharing, and selling of the email correspondence, which are private and hold a reasonable

23 expectation of privacy, to third parties, including marketers, recruiters, and advertisers without their

24 consent or knowledge, prevents the Connecticut Non-Subscriber Subclass from avoiding

25 ZoomInfo’s data collection, sharing, and selling practices and from protecting their right to privacy

26 and their right to control the dissemination of their personal information.

27

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 1          259.    ZoomInfo knew or had reason to know that the Connecticut Non-Subscriber Subclass

 2 could not have reasonably known or discovered the existence of such surreptitiously monitoring,

 3 collecting, and reading consumer’s private and confidential emails and other information, without

 4 disclosure by ZoomInfo.

 5          260.    The foregoing unfair and deceptive practices directly, foreseeably and proximately

 6 caused Plaintiffs and the Class to suffer loss and substantial injury and Plaintiffs and the Class are

 7 entitled to recover damages and appropriate relief, as requested below.

 8                                 FOURTEENTH CLAIM FOR RELIEF
                            Violation Of Georgia Uniform Deceptive And Unfair
 9
                                            Trade Practices Act
10                          (“Georgia UDUTPA”), O.C.G.A. § 10-1-370 et seq.)
                                (on Behalf of Georgia Non-Subscriber Class)
11
            261.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with
12
     the same force and effect as if fully restated herein.
13
            262.    The Defendants are “persons” engaged in deceptive trade practices within the
14
     meaning of Georgia’s UDUTPA. See O.C.G.A. § 10-1-371(5).
15
            263.    Georgia’s UDUTPA prohibits deceptive trade practices committed in the course of
16
     one’s business, vocation, or occupation, including “represent[ing] that goods or services have . . .
17
     characteristics, . . . uses, [or] benefits . . . that they do not have”; “[r]epresent[ing] that goods or
18
     services are of a particular standard, quality, or grade . . . if they are of another”; and “[e]ngag[ing]
19
     in any other conduct which similarly creates a likelihood of confusion or of misunderstanding.”
20
     O.C.G.A. §10-1-372(a).
21
            264.    ZoomInfo violated the Georgia UDUTPA because their conduct, as alleged herein,
22
     is deceptive and unfair.
23
            265.    Defendants’ conduct is deceptive because it is likely to mislead a reasonable
24
     consumer. ZoomInfo seeks to create the impression that it respects Plaintiffs’ and other Class
25
     Members’ privacy. ZoomInfo’s Terms of Use and Privacy Policy give several explicit assurances
26
     that ZoomInfo does not view or read users’ email content and that it only extracts Business
27

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 1 Information. Similarly, ZoomInfo’s Terms of Use guarantees that “no human being reads” users’

 2 email as a result of users’ participation in the Community Edition. Notwithstanding these express

 3 and implied representations, ZoomInfo intercepts, views, reads, and accesses users’ electronic email

 4 communications, and subsequently discloses, disseminates, sells, and otherwise misuses without

 5 individuals’ knowledge or consent, their personal information that ZoomInfo scraped off their email

 6 correspondence. Besides the Terms of Use, Privacy Policy, ZoomInfo websites, and/or the Privacy

 7 Notice, ZoomInfo publishes on its website, numerous other documents, and web pages that purport

 8 to describe its practice of collecting, sharing, and selling information collected via its Community
 9 Edition Program.

10          266.   The terms and conditions governing a consumer product are a material term of any
11 transaction in that they directly affect a consumer’s choice and conduct in purchasing a product or

12 service. The only way for a ZoomInfo customer to determine what ZoomInfo is actually doing with

13 their emails and the information contained therein is to sort through dozens of different documents

14 spread across several web pages and somehow piece together a “contract” from various portions of

15 one or more of these documents. Even if a ZoomInfo user manages to locate all of the relevant

16 documents, ZoomInfo’s description of what it does with its users’ emails and the contents thereof

17 are confusing, incomplete, and sometimes contradictory.

18          267.   ZoomInfo also fails to inform individuals that ZoomInfo does, in fact, view the

19 entirety of Subscribers’ incoming and outgoing communications to extract and include information

20 in their database. This is also true for unsuspecting non-users, who never subscribed or interacted

21 with ZoomInfo and have no way of knowing, and thus consenting to ZoomInfo’s interception.

22          268.   Defendants’ failure to disclose these material terms as well as Defendants’ failure to

23 gain consumer consent to allow Defendants to view, read, process, capture and/or share email

24 correspondence with third parties without their consent or knowledge, deceived consumers into

25 believing they were not compromising their private information.

26          269.   Had Defendants disclosed to consumers that their Contact Contributor Software

27 helped create ZoomInfo’s database by parsing of email content, and that consumer’s private and

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 1 confidential email content would be viewed, read, processed, captured and/or shared without

 2 consumer consent and knowledge, consumers would not have installed Contact Contributor. The

 3 data of Georgia Non-Subscriber Subclass would not have been viewed, read, processed, captured

 4 and/or shared with third parties merely by exchanging email correspondence with Subscribers.

 5          270.    Defendants’ conduct is unfair because it offends established public policy and is

 6 immoral, unethical, oppressive, unscrupulous, and substantially injurious to consumers.

 7          271.    Defendants’, by surreptitiously viewing, reading, processing, capturing and/or

 8 sharing, and selling of the email correspondence, which are private and hold a reasonable
 9 expectation of privacy, to third parties, including marketers, recruiters, and advertisers without their

10 consent or knowledge, prevents the Georgia Non-Subscriber Subclass from avoiding ZoomInfo’s

11 data collection, sharing, and selling practices and from protecting their right to privacy and their

12 right to control the dissemination of their personal information.

13          272.    ZoomInfo knew or had reason to know that the Georgia Non-Subscriber Subclass
14 could not have reasonably known or discovered the existence of such surreptitiously monitoring,

15 collecting, and reading consumer’s private and confidential emails and other information, without

16 disclosure by ZoomInfo.

17          273.    The foregoing unfair and deceptive practices directly, foreseeably and proximately
18 caused Plaintiffs and the Class to suffer loss and substantial injury and Plaintiffs and the Class are

19 entitled to recover damages and appropriate relief, as requested below

20                                  FIFTEENTH CLAIM FOR RELIEF
                          Request for Relief under the Declaratory Judgment Act
21
                                          28 U.S.C. §2201, et seq.
22                                      (on Behalf of All Classes)

23          274.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with
24 the same force and effect as if fully restated herein.

25          275.    Under the Declaratory Judgment Act, 28 U.S.C. §§2201, et seq., this Court is
26 authorized to enter a judgment declaring the rights and legal relations of the parties and grant further

27

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 1 necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here, that are

 2 tortious and that violate the terms of the federal and state statutes described in this complaint.

 3          276.    An actual controversy has arisen in the wake of Defendants’ intercepting, viewing,

 4 reading, capturing, and misusing of Plaintiffs’ and Class Members’ communications without their

 5 consent as alleged herein in violation of Defendants’ common law and statutory duties.

 6          277.    Plaintiffs continue to suffer injury and damages as described herein as Defendants

 7 continue to intercept, view, read, capture, disseminate and misuse Plaintiffs’ and Class Members’

 8 electronic communications.
 9          278.    Pursuant to its authority under the Declaratory Judgment Act, it is respectfully
10 requested that this Court enter a judgment declaring, among other things, the following:

11          a.      Defendants continue to owe a legal duty to not intercept, view, read, capture
12                  disseminate, and otherwise misuse Plaintiffs’ and Class Members’ electronic
13                  communications under federal and state law, as alleged here;
14          b.      Defendants continue to be in breach of their contract with Plaintiffs and members of
15                  the Classes;
16          c.      Defendants continue to breach their legal duties and be in breach of their contract
17                  with Plaintiffs and Class Members by continuing to intercept, view, read, capture,
18                  disseminate, and misuse Plaintiffs’ and Class Members’ electronic communications;

19                  and

20          d.      Defendants’ ongoing breaches of their legal duties and breach of contract continue

21                  to cause Plaintiffs’ and Class Members harm.

22          279.    Further, it is respectfully requested that this Court should also issue corresponding

23 injunctive relief, including but not limited to enjoining ZoomInfo from engaging in the unlawful

24 conduct alleged in this claim and requiring ZoomInfo to delete all recordings of Class Members, to

25 cease further interception, and to implement functionality sufficient to prevent unauthorized

26 interception in the future, and other appropriate equitable relief, including but not limited to

27 improving its privacy disclosures and obtaining adequately informed consent.

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 1          280.    If an injunction is not issued, Plaintiffs will suffer irreparable injury and lack an

 2 adequate legal remedy in the event of Defendants’ ongoing conduct

 3          281.    Federal and state laws prohibit, among other things, interception, recording,

 4 disclosure, and other misuse of confidential communications without consent, including those

 5 occurring in electronic communication. California specifically recognizes privacy as a fundamental

 6 right. Given that ZoomInfo admits that it continues to intercept, view, read, capture, and misuse

 7 personal information, the risk of continued violations of federal and state law is real, immediate,

 8 and substantial. Plaintiffs do not have an adequate remedy at law because many of the resulting
 9 injuries are reoccurring and Plaintiffs will be forced to bring multiple lawsuits to rectify the same

10 conduct.

11          282.    The hardship to Plaintiffs and the Class if an injunction is not issued exceeds the
12 hardship to Defendants if an injunction is issued. On the other hand, the cost to Defendants of

13 complying with an injunction by complying with federal and state laws and by ceasing to engage in

14 the misconduct alleged herein is relatively minimal, and Defendants have a pre-existing legal

15 obligation to avoid invading the privacy rights of consumers.

16          283.    Issuance of the requested injunction will serve the public interest by preventing
17 ongoing intercepting, viewing, reading, capture, and misuse of personal electronic communications

18 without consent, thus eliminating the injuries that would result to Plaintiffs and the Classes, and the

19 potentially hundreds of thousands of consumers who subscribed to Community Edition program or

20 those who corresponded with members of the Subscriber Class.

21 VIII.    PRAYER FOR RELIEF
22
            WHEREFORE, Plaintiffs on behalf of themselves and the proposed Classes respectfully
23
     request that the Court enter an order:
24
            A.      Certifying this case as a class action on behalf of the Classes defined above,
25
     appointing Plaintiffs as representatives of the Classes, and appointing their counsel as class counsel;
26

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 1          B.     Declaring that ZoomInfo’s actions, as set out above, violate the Wiretap Act

 2 cited herein;

 3          C.     Declaring that ZoomInfo’s actions, as set out above, violate the Stored

 4 Communications Act cited herein;

 5          D.     Declaring that ZoomInfo’s actions, as set out above, violate Washington’s consumer

 6 and privacy laws cited herein;

 7          E.     Declaring that ZoomInfo’s actions, as set out above, violate California’s privacy laws

 8 cited herein;
 9          F.     Declaring that ZoomInfo’s actions, as set out above, violate California’s Bus. & Prof.
10 Code cited herein;

11          G.     Declaring that ZoomInfo’s actions, as set out above, violate Florida’s consumer laws
12 cited herein;

13          H.     Declaring that ZoomInfo’s actions, as set out above, violate New York’s consumer
14 laws cited herein;

15          I.     Declaring that ZoomInfo’s actions, as set out above, violate Illinois’ consumer and
16 privacy laws cited herein;

17          J.     Declaring that ZoomInfo’s actions, as set out above, constitute breach of contract;
18          K.     Declaring that ZoomInfo’s actions, as set out above, violate Connecticut’s consumer

19 laws cited herein;

20          L.     Declaring that ZoomInfo’s actions, as set out above, violate Georgia’s consumer

21 laws cited herein;

22          M.     Requiring ZoomInfo to delete all personal information of Members of the Class,

23 cease further recording, and implement functionality to prevent further interception of the Class’s

24 electronic communication without prior consent, and to cease disclosing communications of the

25 Class to third parties without prior consent;

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 1          N.      Requiring ZoomInfo to undertake measures to cure the harm caused to the Class by

 2 its wrongdoing, as alleged herein, including, but not limited to improving its privacy disclosures and

 3 obtaining adequately informed consent;

 4          O.      Awarding damages, including nominal and statutory damages, and restitution where

 5 applicable, to Plaintiffs and the Classes in an amount to be determined at trial;

 6          P.      Awarding Plaintiffs and the Classes their costs of suit, including reasonable

 7 attorneys’ fees and expenses;

 8          Q.      Awarding Plaintiffs and the Classes pre-and post-judgment interest, to the
 9 extent allowable;

10          R.      Enjoining ZoomInfo from further engaging in the unlawful conduct alleged herein;
11          S.      Awarding such other further injunctive and declaratory relief as is necessary to
12 protect the interests of Plaintiffs and the Classes; and

13          T.      Awarding such other and further relief as the Court deems reasonable and just.
14
      IX.   DEMAND FOR JURY TRIAL
15
            Plaintiffs demand a trial by jury for all issues so triable.
16

17
                 Dated: September 15 2022
18

19
                                                    BRESKIN JOHNSON & TOWNSEND PLLC
20

21                                                  By: s/ Cynthia Heidelberg
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23                                                    Phone: 206-652-8660
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25

26                                                  AND
27

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                       EXHIBIT A
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ZoomInfo Community Edition Terms & Conditions                                                             24/06/22, 1:41 PM



___
                                        Solutions      Platform               Our   Resources
                                                                  Pricing                       Login   Free Trial
                                                                            Data




   ZoomInfo Community Edition
   Terms of Use
   By clicking “Accept” with regard to these Terms of Use (the “Terms” or the “Agreement”) or by
   registering for, accessing, or using the ZoomInfo Community Edition software application (the
   “Application”) and/or services (“Community Edition”) (collectively, the “Services”) you are entering
   into a legally binding agreement with ZoomInfo (defined below). By accessing or using any of the
   Services, you acknowledge that you have read, understood, and agree to be bound by and comply
   with these Terms.



   SUMMARY OF CERTAIN TERMS
   This brief summary of some of the terms of this Agreement is for illustrative purposes and to make
   the Agreement easier to understand. Please note you must read, understand, and agree to this
   Agreement in its entirety, and to the extent any of the express terms in Sections 1 through 13 below
   conflict with this summary or any portion thereof, expressly or by implication, the term stated in
   Section 1 through 13 shall prevail. Please note the following provisions of this Agreement:

   • In exchange for your use of Community Edition, you agree to let us access information in your email
      inbox, specifically the information in signature blocks of emails you have received, metadata from email
      headers, and your contacts in your email contact book. You represent and warrant that you have the
      right to provide us with this information and that, if your email account is owned by your employer, you
      are authorized by your employer to sign up for Community Edition. If you do not have that right or that
      authorization (if applicable), you may not and must not use the Service.

   • No human being reads your email because of your use of Community Edition; we use automated
      computer processes to identify the signature block and email header and to extract the business
      contact information of the sender and metadata from the email header. You grant us a broad license to
      use that information in Community Edition or otherwise. In other words, you are contributing that
      information to us, for use in our database if we choose, in exchange for us providing you the Service.

   • You agree to comply with all applicable laws when using Community Edition or any contact information
      you get from ZoomInfo, and you agree not to violate the rights of any other person. You agree not to
      attempt to hack the site or use automated processes to scrape information from it. You agree not to


https://www.zoominfo.com/about-zoominfo/ce-terms-conditions                                                     Page 1 of 9
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ZoomInfo Community Edition Terms & Conditions                                                          24/06/22, 1:41 PM



      transfer the information to anyone else or use it in a commercial product.

   • We reserve the right to modify or discontinue the Service at any time, and we reserve the right to
      terminate your access to the service at any time for any reason. We also reserve the right to modify
      this Agreement at any time, and you agree to be bound by the modified terms if you continue to use
      the Service. If you do not agree to these Terms, either now or later if it is modified, you may not use and
      must stop using the Service.




   1. LICENSE
   Subject to the conditions and terms hereof, ZoomInfo grants you a non-exclusive, non- assignable,
   revocable license (the “License”) to access and use the Services during the term hereof



   2. COMMUNITY EDITION
   2.1 By accepting this Agreement and registering for Community Edition, and as a condition to
   accessing and using the Services, you authorize the Application to access the information in your
   email account (e.g. Gmail, Microsoft Outlook), including your contacts, metadata from email
   headers, and email content. You acknowledge, understand, and agree that after this permission is
   granted and until it is revoked, the Application will use automated algorithms to automatically
   parse this information and extract certain information regarding businesses and business people,
   such as name, email address, job title, department, company name, phone numbers, business
   address(es), website URLs, metadata from email headers, and other similar business-related
   information (collectively “Contact Data”) that may be stored in your email account both locally or
   on a remote server.

   2.2 If you have any concerns about making such contributions or have reason to believe your
   employer does not permit you to make such contributions, do not accept these Terms, do not
   access or use any of the Services. If such concerns arise after permission has been granted,
   immediately cease using the Services and revoke the access permissions granted to the
   Application by uninstalling it or otherwise revoking permissions according to the instructions
   provided by your email account or email software provider.

   2.3 By continuing to access or use the Services and granting access permission to the Application,
   you grant ZoomInfo and any of its affiliates the following licenses: (i) a license to access Contact
   Data that you have stored in your email client, including in your contacts list, email signatures, and
   email headers, until you revoke the Application’s permission to access your email account and (ii)
   an irrevocable license to reproduce, distribute, publish, perform, make derivative works of, or
   display the Contact Data or any portion thereof, and sell, transfer, assign, sublicense, disclose, or
   make available the Contact Data or any portion thereof to any third party, including ZoomInfo’s
   customers, contractors, strategic partners, agents, and service providers. The foregoing license
   grants to ZoomInfo shall be worldwide, non-exclusive, perpetual, fully paid-up, and royalty-free,
   and ZoomInfo shall have the right to sublicense, assign, or transfer such licenses in its sole and

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   absolute discretion.

   2.4 In exchange for providing ZoomInfo with access to your email account, as described above,
   and granting the aforementioned licenses to the Contact Data, you will be entitled to use the
   Community Edition Service, which permits you to access premium information, such as names, job
   titles, email addresses and phone numbers, from the ZoomInfo database (the “Licensed
   Materials”) for so long as you have granted access permissions to the Application and contribute
   Contact Data, as provided herein. Immediately and without further action by ZoomInfo, if you
   revoke the Application’s permission to access your email account, your authorization to access or
   use the Services will automatically be revoked and you must immediately cease using the
   Services. Access to the Community Edition Service will all you to perform searches across the
   entire ZoomInfo database and unlock contact information (email address and phone number,
   where available) on up to 10 contacts per month.



   3. USER CONDUCT
   3.1 In using the Services, you agree that you will not:

   1   violate any applicable international, federal or state laws, regulations or rules or any securities
       exchange requirements (collectively, “Laws”), including, but not limited to, by using any Licensed
       Materials in a manner that violates the U.S. CAN-SPAM Act of 2003, as such statute may be amended
       from time to time, or any other law regarding electronic communications;

   2 make any Contact Data available to ZoomInfo if doing so would violate any Laws, industry or
       professional codes or standards, contractual or fiduciary obligations, confidentiality obligations, or
       employer policies or other requirements by which you are bound;

   3 use the Licensed Materials or the Services to transmit any information, data, images, or other
       materials that are unlawful, harmful, threatening, harassing, libelous, defamatory, vulgar, obscene or
       otherwise objectionable or that may invade another’s right of privacy or infringe any intellectual
       property right, including patent, trademark, service mark, trade secret, copyright or other proprietary
       rights of any third party;

   4 impersonate any person or entity or falsely state or otherwise misrepresent your affiliation with a
       person or entity;

   5 violate or attempt to violate the security of any of the Services, including, but not limited to, by:
       logging in to a server or account that you are not authorized to access; attempting to test, scan,
       probe or hack the vulnerability of the Site or any network used by the Site or to breach security,
       encryption or other authentication measures; or attempting to interfere with the Site by overloading,
       flooding, pinging, mail bombing or crashing it;

   6 reverse engineer, decompile or disassemble any portion of the Services; or

   7 “scrape” information from the Services, or use or attempt to use any engine, software, tool, agent or


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       other device or mechanism (including browsers, spiders, robots, avatars or intelligent agents) to
       navigate or search any portion of the Site, other than the search engine and search agents available
       from ZoomInfo on the Site and generally available to third party web browsers (e.g., Mozilla Firefox,
       Google Chrome and Microsoft Internet Explorer)



   3.2 You further agree to: (i) provide true, accurate, current and complete information about
   yourself if prompted by the registration form; and (ii) maintain and update this information to keep
   it true, accurate, current, and complete.

   3.3 You agree to comply with all applicable Laws, including but not limited to privacy and/or data
   protection Laws, when providing us with access to Contact Data and when using Community
   Edition or any contact information you access from Community Edition.



   4. ADDITIONAL RESTRICTIONS
   You may not develop or derive for commercial sale any data in any form that incorporates or uses
   any of the Licensed Materials. Except with the prior written consent of ZoomInfo, you may not
   transfer or disclose any Licensed Materials to anyone else. You may not use the Services in a
   commercial service bureau environment, including, but not limited to, any provision or export of
   Licensed Materials to third parties in any form whatsoever. You are authorized to use the Services
   solely for your personal and/or internal business purposes only, subject to the limitations set forth
   herein.



   5. SUBMISSIONS
   5.1 You are solely responsible for the content of any submission you make to ZoomInfo. ZoomInfo
   reserves the right, but does not assume any obligation, to delete messages or other content that
   ZoomInfo, in its sole discretion, deems abusive, defamatory, obscene, in violation of copyright or
   trademark laws, or otherwise unacceptable.

   5.2 ZoomInfo does not want to receive confidential or proprietary information from you. You
   acknowledge that any information or material you send to ZoomInfo will be presumed not to be
   confidential unless otherwise provided in a written agreement between you and ZoomInfo. Unless
   otherwise provided in a written agreement between you and ZoomInfo, by sending ZoomInfo any
   information or other material, you grant ZoomInfo a nonexclusive, unrestricted, irrevocable,
   perpetual, royalty-free, worldwide, assignable, transferrable, sublicensable, right and license, in all
   formats or media, whether now known or hereafter devised or discovered, to use, reproduce,
   display, transmit, translate, rent, sell, modify, disclose, publish, create derivative works from, and
   distribute that material or information, and you also agree that ZoomInfo is free to use any ideas,
   concepts, knowhow or techniques that you send us for any purpose. You further agree to
   indemnify and defend ZoomInfo and hold ZoomInfo harmless from and against any liability arising
   from ZoomInfo’s use or distribution of any such material or information.

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   6. PROPRIETARY RIGHTS
   6.1 You agree that, as between you and ZoomInfo, ZoomInfo and/or its licensors own the Services
   and Licensed Materials, including all software and other technology provided or employed by
   ZoomInfo in connection with the Services, and the contents, design, layout, functions, appearance
   and other intellectual property comprising or contained within the Services, including all
   copyrights, trademarks, service marks, trade secrets, patents and other intellectual property
   rights inherent therein or appurtenant thereto. Without limitation of the foregoing, as between
   ZoomInfo and you, ZoomInfo shall retain all right, title and interest in and to the compiled
   biographical and company data and all other materials accessible by means of the Services,
   including news articles, company summaries, company descriptions, people summaries and
   contact information, and the selection, coordination and arrangement of such content, and you
   shall not acquire ownership in any of the Licensed Materials by reason of the License. You shall
   abide by all additional copyright notices or restrictions contained in any content accessed through
   the Site.

   6.2 By furnishing Licensed Materials or access to any software in connection with the Services,
   ZoomInfo does not grant any licenses to any copyrights, patents, trademarks, trade secrets or
   other intellectual property rights other than the limited rights to use the Services, as set forth
   herein. All rights not expressly granted herein under the License are reserved by ZoomInfo.



   7. PROVISION OF SERVICES
   7.1 ZoomInfo may make improvements or changes in the Services at any time without notice.

   7.2 ZoomInfo shall not be responsible for any failure to remove, or delay in removing, harmful,
   inaccurate, unlawful, or otherwise objectionable content originating with or otherwise provided by
   third parties, except to the extent provided by applicable law.

   7.3 ZoomInfo shall not be liable for any loss or damage resulting from total or partial loss of any data
   you upload using the Services. Data can get lost or become corrupt as a result of a number of
   causes, including hardware failures, software failures or bugs, or communications failures.
   ZoomInfo recommends that you periodically back up your information onto media not associated
   with ZoomInfo.

   7.4 You understand and agree that the Services are provided on an “as available” basis; ZoomInfo
   will use reasonable commercial efforts to provide the Services on a 24/7 basis, but it shall not be
   liable for any disruption in service, regardless of length.



   8. TERM; TERMINATION
   The term hereof will commence when you first accept these Terms or otherwise register for,
   access, or use the Services, and continue in effect until terminated by either party, provided that


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   your License may sooner expire or be terminated as provided herein. Either party may terminate
   this Agreement any time without prior notice to the other party. ZoomInfo may terminate this
   Agreement by terminating your access to the Service, in which case ZoomInfo will promptly cease
   accessing the Contact Data. You may terminate these Terms at any time by uninstalling the
   Application, in which case you agree to cease using the Services. Upon termination hereof for any
   reason, the License will automatically be terminated, and you shall immediately cease using the
   Services, including the Licensed Materials.



   9. LINKS
   The Service may contain links to websites that ZoomInfo does not operate. ZoomInfo is not
   responsible for the content of these websites, and you should direct any concerns regarding these
   websites to their respective site administrators or webmasters.



   10. REPRESENTATIONS AND WARRANTIES;
   INDEMNITY
   10.1 You represent, warrant and covenant that:

   1   no information of any kind submitted through your use of the Application or the Services will (i)
       violate, plagiarize, or infringe upon the rights of any third party, including copyright, trademark,
       privacy or other personal or proprietary rights; or (ii) contain libelous or otherwise unlawful material;

   2 you are at least eighteen (18) years old;

   3 you are authorized by your employer, if applicable, to sign up for Community Edition and to share the
       Contact Data with ZoomInfo in exchange for your access to the Services and that you are not
       prohibited by any contract, policy, rule, or regulation from doing so.



   10.2 You agree to indemnify, defend and hold harmless ZoomInfo and its successors or assigns, and
   all officers, directors, owners, agents, information providers, affiliates, licensors and licensees of
   the foregoing (collectively, the “Indemnified Parties”) from and against any and all liability and
   costs, including reasonable attorneys’ fees, incurred by the Indemnified Parties in connection with
   any claim arising out of any breach by you or any user of your account of these Terms or the
   foregoing representations, warranties, or covenants. You agree to cooperate as fully as reasonably
   necessary to the defense of any such claim.



   11. DISCLAIMERS; LIMITATIONS
   11.1 YOU ASSUME ALL RESPONSIBILITY AND RISK FOR YOUR USE OF THE SERVICES. THE SERVICES
   ARE PROVIDED “AS IS” WITHOUT REPRESENTATIONS ORWARRANTIES OF ANY KIND, EITHER

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   EXPRESS OR IMPLIED, INCLUDING WARRANTIES OF TITLE, NONINFRINGEMENT, OR IMPLIED
   WARRANTIES OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE. WITHOUT
   LIMITATION OF THE FOREGOING, ZOOMINFO EXPRESSLY DISCLAIMS ANY WARRANTY THAT THE
   SERVICES SHALL BE UNINTERRUPTED OR ERRORFREE. ZOOMINFO DOES NOT ASSUME ANY LEGAL
   LIABILITY OR RESPONSIBILITY FOR THE ACCURACY, COMPLETENESS, OR USEFULNESS OF ANY
   INFORMATION MADE AVAILABLE THROUGH THE SERVICES.

   11.2 IN NO EVENT SHALL ZOOMINFO BE LIABLE FOR ANY INDIRECT, PUNITIVE, INCIDENTAL, SPECIAL
   OR CONSEQUENTIAL DAMAGES ARISING OUT OF OR IN ANY WAY CONNECTED WITH YOUR USE OF,
   DELAY IN USING, OR INABILITY TO USE THE SERVICES. ZOOMINFO’S LIABILITY FOR ANY DIRECT
   DAMAGES SHALL BE LIMITED TO THE AMOUNT OF FEES YOU HAVE PAID FOR THE SERVICES FOR
   THE THENCURRENT PERIOD. SOME STATES OR JURISDICTIONS DO NOT ALLOW THE EXCLUSION OR
   LIMITATION OF LIABILITY FOR CONSEQUENTIAL OR INCIDENTAL DAMAGES AND THUS THE ABOVE
   LIMITATION MAY NOT APPLY TO YOU. IF THIS LIMITATION OF LIABILITY OR THE EXCLUSION OF
   WARRANTY SET FORTH ABOVE IS HELD INAPPLICABLE OR UNENFORCEABLE FOR ANY REASON,
   ZOOMINFO’S MAXIMUM LIABILITY FOR ANY TYPE OF DAMAGES SHALL BE LIMITED TO $100.



   12. CHANGES TO THE TERMS
   ZoomInfo may modify these Terms, provided however that (i) such changes will become effective
   and binding after ZoomInfo provides notice to you that these Terms have changed and you first
   use the Services following the date of such posting, and (ii) the changes will only apply with
   respect to your use of the Services after such changes become effective. If at any time you find
   these Terms unacceptable and do not agree with them, you agree to cease accessing the
   Services and uninstall or deactivate the Application.



   13. CONTRACTING PARTY, GOVERNING LAW, AND
   JURISDICTION
   13.1 If you are located in the European Economic Area or the United Kingdom, “ZoomInfo” means
   ZoomInfo UK Ltd., a UK limited company located at Floor 11 Whitefriars, Lewins Mead, Bristol BS1
   2NT. If you are located anywhere else, “ZoomInfo” means ZoomInfo Technologies LLC, a Delaware
   limited liability company located at 805 Broadway St., Suite 900, Vancouver, WA 98660.

   13.2 If an issue arises under these Terms and: (a) the contracting ZoomInfo entity is ZoomInfo
   Technologies LLC, then these Terms are governed by the laws of the United States of America and
   the State of Washington and any action or proceeding (including those arising from non-
   contractual disputes or claims) related to these Terms will be brought in a state or federal court in
   the State of Washington; or (b) the contracting ZoomInfo entity is ZoomInfo UK Ltd., then these
   Terms are governed by the laws of England and Wales, and any action or proceeding (including
   those arising from non-contractual disputes or claims) related to these Terms will be brought in
   London, England. Each party irrevocably submits to the jurisdiction and venue of the applicable

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   courts.



   14. EEA & UK USERS
   If you are located in the European Economic Area or the United Kingdom, then the Community
   Edition Joint Controller Addendum applies to you and is hereby expressly incorporated into these
   Terms by reference.



   15. MISCELLANEOUS
   15.1 Relationship. No joint venture, partnership, employment, fiduciary, or agency relationship exists
   between you and ZoomInfo as a result of these Terms and/or your use of the Services.

   15.2 Authority. The person accepting these Terms on behalf of each party represents and warrants
   that he or she has been duly authorized by that party to accept the Agreement and thereby bind it
   to these Terms. The parties agree that these Terms shall be effective as of the date accepted by
   you.

   15.3 Entire Agreement. These Terms represent the entire binding agreement between you and
   ZoomInfo with respect to the subject matter hereof, and supersede any and all prior
   understandings, statements, or representations, whether electronic, oral or written, regarding
   Services.

   15.4 Assignment and Waiver. ZoomInfo may assign its rights under this Agreement without your
   consent. You may not assign your rights under this Agreement in whole or in part to anyone else
   without ZoomInfo prior express written consent. No waiver of any obligation or right of either party
   shall be effective unless in writing, executed by the party against whom it is being enforced.

   15.5 Equitable Relief. In addition to money damages, ZoomInfo shall be entitled to seek equitable
   relief where appropriate if you breach of any of these Terms.

   15.6 Severability. The unenforceability or invalidity of any clause in this Agreement shall not have an
   impact on the enforceability or validity of any other clause. Any unenforceable or invalid clause
   shall be regarded as removed from this Agreement to the extent of its unenforceability and
   invalidity. Therefore, this Agreement shall be interpreted and enforced as if it did not contain the
   said clause to the extent of its unenforceability and invalidity.

   15.7 Legal Expenses. The prevailing party in any legal action brought by one party against the other
   that arises out of this Agreement shall be entitled, in addition to any other rights and remedies it
   may have, to reimbursement for its legal expenses, including court costs and reasonable
   attorneys’ fees.

   15.8 Construction. The titles and subtitles in these Terms are used for convenience only and are not
   to be considered in construing it. All references herein to “including” and variations thereof shall be
   deemed to mean, “including, but not limited to.”

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   15.9 Notices. Notices required or permitted hereunder that are intended for you personally and not
   all users of the Services may be sent to you at the most recent email address on file with ZoomInfo.
   Notices to ZoomInfo shall be sent by email to legal@zoominfo.com or by mail to ZoomInfo, 805
   Broadway St., Suite 900, Vancouver, WA 98660.

   Updated: November 15, 2021




                      POPULAR                    C O M PA N Y                 B2B                          MORE
                      F E AT U R E S                                          DATA B A S E                 RESOURCES          Free
                                                 About Us                                                                     Trial
                      Sales                                                   Our Data                     ZoomInfo
                      Solutions                  Our                                                       Videos
                                                                              Data                                       Login
                                                 Leadership
                      Marketing                                               Transparency                 Newsroom
                      Solutions                  Investor                                                                866.904.9666
                                                                              Code of                      Engineering
                                                 Relations
                      Company                                                 Community                    Blog
                      Contact                    FAQs
                      Search                                                  Verify                       COVID-19
                                                 Careers                      Company                      Newsfeed
                      Buyer                                                   Data
                      Intent Data                Contact Us                                                Recipes for
                                                                              Verify Profile               Success
                      CRM Lead                                                Data
                      Enrichment                                                                           Privacy
                                                                              Browse                       Center
                                                                              Directories
                                                                                                           Glossary




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                                                                |   Cookies   |   Status
   Technologies LLC              Policy         of Use                                       Information




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                                        Solutions        Platform               Our   Resources
                                                                    Pricing                       Login   Free Trial
                                                                              Data




    ZoomInfo Privacy Policy

    Updated: August 22, 2021

    ZoomInfo understands that you care about how information about you is used. This Privacy Policy
    (the “Policy”) explains how we collect information pertaining to businesses and business people
    (“Business Information”) and all other types of information, including personal information, through
    our online services (the “Services”), website, and mobile applications (collectively with the
    Services, the “Site”); how we maintain, use, and share that information; and how you can manage
    the way information about you is handled.

    “ZoomInfo” for purposes of this Privacy Policy includes DiscoverOrg Data, LLC, a Delaware limited
    liability company, and its affiliates, including Zoom Information, Inc.

    For individuals residing in the EEA, the UK, or Switzerland, please click here to find out more
    information.

    For residents of the State of California, please click here to find out more about your rights under
    the California Consumer Privacy Act of 2018 (“CCPA”).

    Read more about ZoomInfo’s Code of Community



    I. How we Collect Information
    A. Where does ZoomInfo get the Business Information for its Business Profiles?

    ZoomInfo creates profiles of business people and companies, which we call “Business Profiles,”
    from different sources. Once we have collected Business Information about a person or company,
    we combine multiple mentions of the same person or company into a Business Profile. The
    resulting directory of Business Profiles (the “Directory”) is then made available to the users of the
    Site and our customers and strategic partners. Business Information that may be provided in a
    Business Profile includes name, email address, job title and department, phone number, company
    name, postal address of company and business-related postal address of the person, employment
    history, and education history. Business Profiles may also include links to articles by, about, or


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    quoting an individual and links to an individual’s social media profiles.

    ZoomInfo obtains the data for its Business Profiles in several ways, including:

    1   Our search technology scans the web and gathers publicly-available information.

    2 We license information from other companies.

    3 Users contribute Business Information about themselves or other people and companies. (See
        “ZoomInfo Community Edition,” below)

    4 Through market research surveys and phone interviews conducted by our in-house research team.



    ZoomInfo also makes certain limited Business Information from its Business Profiles publicly
    available in our directory pages on our Site (the “Public Directory”). The categories of Business
    Information that may be made available in the Public Directory include past or current name,
    company, company headquarters telephone number, office address, job title, and/or education
    information.

    B. How does the ZoomInfo Community Edition and the ZoomInfo Contact Contributor Work?

    ZoomInfo offers a service called ZoomInfo Community Edition (“Community Edition”). To subscribe
    to Community Edition, you are required to install software offered on the Site, known as the
    ZoomInfo Contact Contributor (the “Software”) or otherwise provide ZoomInfo with access to
    your email account. When you subscribe to Community Edition, you allow ZoomInfo to access
    certain Business Information stored by the application that your computer uses to manage your
    email and contacts, known as an “email client” (e.g., Microsoft Outlook) or stored by a provider of
    cloud services for email (e.g., Google Apps). If required to access this Business Information stored
    on your computer’s email and contact application(s), you may need to provide ZoomInfo with the
    necessary username and password information. We use this Business Information to improve the
    size and quality of our Directory. In exchange for allowing this access, you receive a subscription to
    Community Edition at no charge under specified terms and conditions (available at /about-
    zoominfo/ce-terms-conditions).

    From the contacts within your email client and “signatures” within email messages, we collect the
    following Business Information, if available, for each person:

    • Name
    • Email address
    • Job title and department
    • Business phone numbers (general, direct, and fax)
    • Company name
        Postal address of company


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       Business related postal address of person
    •
    • Corporate website URLs
    • Social Networking URLs
    From the headers of your emails, we collect the following Business Information, if available:

    • Metadata such as Internet Protocol addresses and the dates email messages are sent or received
    • Email addresses, names, and job titles of recipients and senders
    To ensure the integrity of the Directory, we take the following steps:

    • Business Information Only – ZoomInfo only wants business-related information. Therefore, any
       contacts that have an address from a consumer-oriented service such as Gmail, Hotmail, or Yahoo are
       disregarded.

    • Unattributed – We do not disclose who contributed particular information using the ZoomInfo Contact
       Contributor software or other contribution methods. (The only exceptions: See “Disclosures to Service
       Providers,” “Disclosures for Legal Reasons,” and “Disclosures to a Buyer of the Company,” below.)

    • Opt Out – Anyone added to the Directory may request to be removed at any time, via email, web, or a
       toll-free number. We promptly honor such requests.

    ZoomInfo does not “read” the body of your email messages; our technology automatically extracts
    only the data we describe in this Policy. We do not collect data from custom fields or notes in your
    email client.

    Information from your email client will continue to be shared as described above as long as the
    Software remains installed. If you choose to stop sharing information from your email client with
    ZoomInfo, you can uninstall the Software at any time following the instructions at /cefaq. You may
    not, however, retroactively “unshare” the Business Information you have already made available to
    ZoomInfo.

    C. Customer Information

    Customer Information Collected. ZoomInfo may collect the following information from or regarding
    its customers: (1) personal contact information regarding users of the Services (“User
    Information”); (2) information uploaded to our system by a user of the Services (“Uploaded
    Information”); and (3) usage logs regarding the use of the Site and Services, including logins and
    other actions taken, time stamps, IP address, and other usage data (“Usage Logs”) (collectively,
    “Customer Information”).

    You may be a user that has been provided access to the Site through your company license
    agreement. Your employer may require that one or more users have global rights to access any
    and all information of every user that has access through the company. If you have questions or
    concerns regarding the rights of other individuals in your company to access your User


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    Information, Uploaded Information, or Usage Logs, you should raise those concerns with the
    appropriate person at your company.

    Use of Customer Information. Customer Information may be used for ZoomInfo’s legitimate
    business interests in connection with your use of the Site, including to respond to user inquiries
    and fulfill user requests, complete transactions, provide customer service, send administrative
    information, and to personalize user experience with the Site. We may use Customer Information
    to better understand our users in general and to improve the content and functionality of the Site.
    We may use Customer Information to contact you in the future to tell you about services,
    promotions, opportunities, and other general information about ZoomInfo we believe will be of
    interest to you. We may use Customer Information to investigate and prosecute potential breaches
    of ZoomInfo’s security or license agreements.

    ZoomInfo will not disclose Customer Information to any third party except in connection with a
    legitimate use as set forth herein, in connection with a bona fide legal dispute to which such
    information is relevant, in response to valid, compulsory legal process, or as otherwise required by
    law. ZoomInfo will, whenever possible, obtain confidentiality agreements from any person or entity
    to whom Customer Information is disclosed and ensure any recipients are committed to
    employing appropriate technological security measures.

    ZoomInfo employs reasonable security and back-up procedures to protect Customer Information.
    However, in the unlikely event there is a loss or corruption of Customer Information, ZoomInfo is not
    responsible or liable for such loss or corruption. We encourage our users to retain copies of all
    Uploaded Information on their own system.

    D. How else does ZoomInfo Collect Information?

    When you submit information through our Site. Visitors to our Site may choose to submit their
    name, email address, phone number, and/or other information so that they can learn more about
    our Services, register to take part in a ZoomInfo-sponsored event, participate in a survey, contest,
    or sweepstakes, or apply to ZoomInfo’s open job positions, among other things. By accessing,
    using, and/or submitting information through the Site, you consent to the practices described in
    this Policy with regard to the information collected thereby as described herein. If you do not
    agree with this Policy, you should not submit any information through our Site and you must delete
    all cookies from your browser cache after visiting the Site and refrain from visiting or using the Site.

    When you manage your Business Profile. ZoomInfo allows you to claim your Business Profile and to
    update the information listed about you in your Business Profile, including your name, job title,
    business email address, direct phone number, current and past employment information, and
    education history. We use the information you submit to update your Business Profile solely for
    purposes of verifying your identity, updating your Business Profile information, and honoring your
    privacy preferences. For additional information, see the “Your Choices” section below.

    When you use our Services. In order to use certain ZoomInfo Services, you may be required to
    register as a user. From time to time, we may use your email address to send you information and
    keep you informed of products and services in which you might be interested. You will always be


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    provided with an opportunity to opt out of receiving such emails. Your contact information may
    also be used to reach you regarding issues concerning your use of our Services or Site, including
    changes to this Policy. A more detailed description of how we may collect and use customer
    information can be found in the “Customer Information Collected” section above.

    When you provide information to our customers. We receive information about our customers’ end-
    users from or on behalf of our customers. Because of the nature of our Services, this information
    may contain any type of data, but typically includes name, contact information, and company
    information, such as company name. We may also collect data about you automatically through
    your use of our Services, as described in the “Cookies and Similar Technologies” section below. If
    you are a visitor to or user of a website, application, or service on which a customer uses our
    Services, then any information that you provide through our Services is subject to the customer’s
    privacy policy and applicable terms. When we provide our Services to a customer, we act as a
    “data processor,” and the customer is considered to be the “data controller,” as further described
    in the “When ZoomInfo is a Controller” and “When ZoomInfo is a Processor” sections below.

    When you refer a friend. If you choose to use our referral service to invite a friend to join ZoomInfo,
    we will ask you for your friend’s name and email address. We will automatically send your friend a
    one-time email inviting him or her to visit the Site. ZoomInfo will use this information for the sole
    purpose of sending this one-time email and will not store your friend’s name or email address.

    When you purchase our products and Services. If you purchase one of our online subscription-
    based Services, you will need to provide credit card information. We will use that information solely
    for the purpose of fulfilling your ZoomInfo purchase request. We will store credit card information
    in an encrypted form and will not sell, share, or use it again without your prior consent. (The only
    exceptions are described in the sections below on “Disclosures to Service Providers,” “Disclosures
    for Legal Reasons,” and “Disclosures to a Buyer of the Company”).

    When you use Chorus. Our data analytics tools and capabilities enable our customers to collect,
    store, analyze, and share the contents of audio, video, image, and text-based communications
    such as phone calls, video calls, emails, chats, webinars, and meetings, along with associated data
    and documentation. These recordings and analysis thereof may also contain Business Information
    or personal information, such as names, titles, and contact information. We may reproduce,
    analyze, summarize, and disclose these files, recordings, and any results of our Services with such
    customers and their relevant personnel and other team members, and customers may share this
    information with their personnel or others. We may collect biometric information of Chorus
    customers when such customers have provided us with their consent to do so. The collection and
    use of such biometric information are governed by our Biometric Privacy Notice in addition to this
    Policy.

    When you use our mobile applications. When you download and use our mobile applications, we
    collect certain information from you including your device type, operating system, location,
    platform used, device ID, and the date you last used the app, among other non-personally
    identifiable information. We may also collect other information such as your name, email, company
    name, and information about your account with us. If you use our mobile app calendar integration,


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    certain information will be collected from your calendar meetings, including meeting participants,
    meeting description, subject, and date and time of the meeting. This information is collected to
    provide you with certain app features, such as meeting briefs with meeting and contact details
    within the app.

    When you use ZoomInfo Integrations. As part of the Services, ZoomInfo may make available to its
    customers certain “Integrations.” In using ZoomInfo’s Integrations, such as ZoomInfo’s SFNA and
    web browser extensions, Business Information from customer’s CRM, MAT, or sales enablement
    software may be transmitted to ZoomInfo for purposes of matching or cleansing the customer’s
    data against ZoomInfo’s database as a feature of the Services. In that event, ZoomInfo may retain
    and store such Business Information for purposes of identifying potential contacts to supplement
    the Services, verifying the accuracy of such Business Information, removing out-of-date Business
    Information from the Services, or otherwise improving ZoomInfo’s research processes and the
    content provided through the Services. Information so received will not be attributable to the
    source. In the event that any customer wishes to opt out of ZoomInfo’s use of such information,
    they may do so by visiting the ‘Privacy Center’ within the ZoomInfo Salesforce Native Application
    and adjusting the appropriate controls.

    When you connect the Services to your email or calendar. In order to provide certain Services,
    ZoomInfo may require access to your email account and/or calendar (e.g., through G-Suite or
    Office 365). Depending on the specific Services being used, we may collect email header
    information, email subjects, email bodies and attachments, and calendar meeting information
    such as meeting participants, meeting description, subject, and date and time of the meeting.
    Customers have control over what data is collected, including which mailboxes are connected,
    whether message attachments or content is collected, and which emails or email domains should
    not be collected. ZoomInfo’s access to and use of information received from Google Accounts will
    adhere to the Google API Services User Data Policy, including the Limited Use requirements.

    From third parties. ZoomInfo may obtain information about you from third-party sources such as
    our service providers and strategic partners. We may use this information to enhance the
    information that we already maintain about you and to improve the accuracy of our records, in
    addition to other purposes described in this Policy.

    Creation of aggregated information. ZoomInfo may aggregate collected information about our
    users in a form that does not allow users to be personally identified for the purpose of
    understanding our customer base and enhancing the Site and the Services that we and our
    strategic partners and customers can provide you.

    Creation of information from inferences. We may use the information we already have about you in
    order to draw inferences about you or to produce scores or ratings such as the Likely to Listen
    score. We use scoring models and algorithms that evaluate selected data points to produce a
    score predicting the likeliness of a candidate to respond to a recruiter’s outreach efforts. We do
    not make any decisions about individuals, and we do not tell our customers whether to reach out
    to a particular candidate or not.

    Automated information collection. We also collect information using cookies, as described below

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    under the “Cookies and Similar Technologies” section.



    II. How we Use Information
    In addition to the uses described in the above section, we may also use information for one or
    more of the following purposes:

    • Provide, maintain, and improve the Site
    • Verify, cleanse, update, and maintain Business Information and other information provided through the
       Site

    • Provide and deliver the Services you request, process transactions, and send you related information,
       including communications and invoices

    • Send you technical notices, updates, security alerts, and support and administrative messages
    • Respond to your comments, questions, and requests, and provide customer support
    • Create your ZoomInfo account and identify you when you sign in to your account
    • Communicate with you about products, services, offers, promotions, rewards, and events offered by
       ZoomInfo and others, and provide news and information we think will be of interest to you

    • Monitor and analyze trends, usage, and activities in connection with the Site
    • Detect, investigate, and prevent fraud and other illegal activities
    • Protect the rights and property of ZoomInfo, our customers, and others
    • Personalize and improve the Site
    • Notify you about important changes to the Site, including changes or updates to this Privacy Policy
    • Facilitate contests, sweepstakes, and promotions, process entries, and deliver rewards
    • Consider you for possible employment with ZoomInfo in connection with an application that you
       submit through the Site, and communicate with you about your application

    • Create aggregated statistical data, inferred non-personal data, or anonymized or pseudonymized data
       (rendered non-personal and non-identifiable), which we or our business partners or customers may
       use to provide and improve our respective services

    • Comply with our contractual and legal obligations, resolve disputes with users, and enforce our
       agreements

    • Carry out any other purpose described to you at the time the information was collected

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    III. How we Share Information
    Disclosures of Business Profiles. We may make any Business Information that our users contribute
    for inclusion in our Directory, that we collect from public web sources, that we collect through
    market research surveys and phone interviews conducted by our in-house research team, or that
    we license from third parties available to users of the Site, to our strategic partners, and to our
    customers. If you provide information, including Business Information, in creating or updating your
    Business Profile, that information will be included in the Directory and thus can be viewed by third
    parties.

    Disclosures via Public Directory. ZoomInfo makes certain limited Business Information from its
    Business Profiles publicly available in our Public Directory on our Site. The categories of Business
    Information that may be made available in the Public Directory include past or current name,
    company, company headquarters telephone number, office address, job title, and/or education
    information. Information in the Public Directory is publicly available to visitors who visit our Public
    Directory webpages on our Site.

    Disclosures to Affiliates. We may share Business Information with our affiliates who may act for us
    for any of the purposes set out in this Privacy Policy, including our current and future parents,
    subsidiaries, and other companies under common control and ownership with ZoomInfo.

    Disclosures to Service Providers. ZoomInfo may from time to time disclose Business Information or
    other collected information to service providers, solely for providing functions related to our
    operation of the Site and for no other purpose. For example:

    • ZoomInfo uses service providers to process credit card payments on our Site. When you use a credit
       card to pay for ZoomInfo Services, information such as your name, billing address, phone number,
       email address, and credit card information will be submitted to service providers for verification and to
       manage any recurring payments.

    • ZoomInfo uses software hosted by a service provider to provide us with information regarding our
       visitors’ activities on our Site. When you visit our Site, that service provider may set cookies on our
       behalf and may receive information about your browsing activity on our Site.

    Disclosures to Integration Partners. In using ZoomInfo’s Integrations, such as ZoomInfo’s SFNA and
    web browser extensions, Business Information from ZoomInfo may be disclosed to a customer’s
    CRM, MAT, or sales enablement software as requested or directed by our customers.

    Disclosures for Legal Reasons. We may disclose collected information, including Business
    Information, to a third party if we believe in good faith that such disclosure is necessary or
    desirable: (i) to comply with lawful requests, subpoenas, search warrants, or orders by public
    authorities, including to meet national security or law enforcement requirements; (ii) to address a
    violation of the law; (iii) to protect the rights, property, or safety of ZoomInfo, its users, or the
    public; or (iv) to allow ZoomInfo to exercise its legal rights or respond to a legal claim.

    Disclosures to a Buyer of the Company. If our company or substantially all of our assets are

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    acquired, or in the event of a merger or bankruptcy, information about you and/or information you
    provide to ZoomInfo may be among the transferred assets. You will be notified via email and/or a
    prominent notice on our Site of any change in ownership or uses of your personal information, as
    well as any choices you may have regarding your personal information.

    Other Disclosures

    If you register for a ZoomInfo event with a third-party speaker, your information will generally be
    shared with the speaker and any third-party sponsors or partners of the event.

    We post customer testimonials on our Site which may contain the customer’s name. We always
    get consent from the customer prior to posting any testimonial. If you wish to update or delete
    your testimonial, you can contact us at privacy@zoominfo.com.

    Our Site offers publicly accessible blogs or community forums. You should be aware that any
    content you provide in these areas may be read, collected, and used by others who access them.
    You can request the removal of your personal information from our blog or community forum by
    contacting us at privacy@zoominfo.com. In some cases, we may not be able to remove your
    personal information, in which case we will let you know if we are unable to do so and why.



    IV. Cookies and Similar Technologies
    Most websites, including our Site, use a feature of your browser to set a small text file called a
    “cookie” on your computer. The site placing the cookie on your computer can then recognize the
    computer when you revisit the site to allow auto log in and track how you are using the site.

    When you visit our Site, our servers and/or those of our service providers automatically record
    certain information that your web browser sends, such as your web request, Internet Protocol
    address, browser type, referring/exit pages and URLs, number of clicks, domain names, landing
    pages, pages viewed, time and date of use, and other information. We may link this information to
    information that you submit while on our Site, which does allow you to be personally identified.

    You are free to decline cookies. You can configure your browser to accept all cookies, reject all
    cookies, erase cookies, or notify you when a cookie is set. Electing to reject or disable cookies may
    substantially limit your ability to use our Site.

    ZoomInfo may adopt other technologies that serve similar functions as cookies. If we do so, we will
    disclose it in this Policy.

    A. Third Party Cookies

    The use of cookies and similar technologies by our partners, affiliates, tracking utility company, and
    service providers is not covered by this Policy. We do not have access to or control over these
    cookies. Our partners, affiliates, tracking utility company and service providers may use session ID
    cookies in order to:



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       personalize your experience
    •
    • analyze which pages our visitors visit
    • provide website features such as social sharing widgets
    • measure advertising effectiveness
    • track which areas of our site you visit; in order to remarket to you after you leave
    To disable or reject third-party cookies generally, please refer to the third-party’s relevant website.
    You can also reject third-party analytics cookies by clicking the “Close” button on the cookie
    banner when visiting our Site.

    B. Google Analytics

    We use Google Analytics, a web analytics service provided by Google, Inc., on our Site. Google
    Analytics uses cookies or other tracking technologies to help us analyze how users interact with
    and use the Site, compile reports on the Site’s activity, and provide other services related to Site
    activity and usage. The technologies used by Google may collect information such as your IP
    address, time of visit, whether you are a return visitor, and any referring website. The Site does not
    use Google Analytics to gather information that personally identifies you. The information
    generated by Google Analytics will be transmitted to and stored by Google and will be subject to
    Google’s privacy policies. To learn more about Google’s partner services and to learn how to opt
    out of tracking of analytics by Google click here.

    C. Web Beacons

    Our Site contains electronic images known as “web beacons” (sometimes called single-pixel gifs)
    and are used along with cookies to compile aggregated statistics to analyze how our site is used
    and may be used in some of our emails to let us know which emails and links have been opened by
    recipients. This allows us to gauge the effectiveness of our customer communications and
    marketing campaigns.

    D. Advertising Choices and Control

    As described in this Privacy Policy, third parties on our Site may use cookies and similar tracking
    technologies to collect information and infer your interests for interest-based advertising
    purposes. If you would prefer to not receive personalized ads based on your browser or device
    usage, you may generally express your opt-out preference to no longer receive tailored
    advertisements. Please note that you will continue to see advertisements, but they will no longer
    be tailored to your interests.


    To opt-out of interest-based advertising by participating companies in the following consumer
    choice mechanisms, please visit:

    • Digital Advertising Alliance’s self-regulatory opt-out page (http://optout.aboutads.info/) and mobile
       application-based “AppChoices” download page (https://youradchoices.com/appchoices)

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       European Interactive Digital Advertising Alliance’s consumer opt-out page
    • (http://youronlinechoices.eu)
    • Network Advertising Initiative’s self-regulatory opt-out page (http://optout.networkadvertising.org/).

    V. Your Choices
    A. How Can You Change or Delete Your Professional Information?

    To find out if you are in the ZoomInfo database, search for your first name and last name on the
    ZoomInfo home page. If you have a common name, you can limit your search based on
    geographical location or companies where you have worked.

    Once you have located one or more ZoomInfo profiles in your name, consider these options for
    managing your professional profile on ZoomInfo:

    Update Your Own Professional ZoomInfo Profile. Make sure your ZoomInfo profile is up to date for
    recruiters and others who may want to reach you. Simply verify your ZoomInfo profile and you can
    update your work history, education history, and contact information. You can also consolidate
    multiple ZoomInfo profiles in your name to create a comprehensive snapshot of your professional
    background. Please Click here to view, verify, and update your ZoomInfo Directory profile.

    Remove Your ZoomInfo Profile Completely. If you wish to completely remove your existing individual
    profile from the Directory, please visit Remove Your Zoominfo Professional Profile or
    email remove@zoominfo.com. If you make this choice, your name, employment history, education
    history, web references, and contact information (including email address) will be removed from
    our search results as soon as possible.

    B. How Can You Change or Delete Your Company Information?

    To find out if your company is in the ZoomInfo database, search for your organization on the
    ZoomInfo home page. Once you have located the ZoomInfo profile, consider these options for
    managing your company profile on ZoomInfo:

    Update Your Company Profile on ZoomInfo. Simply verify your ZoomInfo company profile to update
    your company description, industry, company location, and more. You can also consolidate
    multiple ZoomInfo profiles to create a comprehensive snapshot of your company. Please click
    here to view, verify, and update your ZoomInfo company profile.

    Remove Your Company ZoomInfo Profile Completely. ZoomInfo is a specialized web search engine,
    similar to Google but focused on finding information about companies and professionals. We
    gather all information about companies from corporate web sites, press releases, and/or SEC
    documents filed with the US government. The company summaries are created automatically by
    ZoomInfo’s software based on the information we find on those documents.

    As a company policy, ZoomInfo does not remove company information from our search engine. If


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    any of the company information is incorrect, please update your company profile.

    C. How Can You Opt-Out of Certain Uses of Your Information?

    ZoomInfo gives you the opportunity to “opt out” of having your information used for certain
    purposes.

    If you no longer wish to receive our newsletter and promotional communications, you may opt-out
    of receiving them by following the instructions included in each newsletter or communication or
    by visiting /unsubscribe. After we receive your request, we will send you an email message to
    confirm that you have been unsubscribed.

    ZoomInfo will not share information about you that you submit when you register for our Services
    with third parties for promotional uses unless you opt in to such sharing within your ZoomInfo
    account or ZoomInfo has separately acquired such information from other sources, in which case
    ZoomInfo will give you the opportunity to opt out via email.

    If you have registered for a ZoomInfo account and opted in to share your information with
    ZoomInfo subscribers, you may opt out by signing in to your ZoomInfo account and changing your
    preferences by clicking “Edit” next to your contact information on the Profile page.

    If you have subscribed to Community Edition and opted in to share your business contacts with
    ZoomInfo in exchange for free access to our premium services, you may opt out of any further
    sharing of business contacts by uninstalling the Software, as described on /cefaq. If you uninstall
    the Software, your subscription to Community Edition will immediately expire and ZoomInfo will no
    longer collect Business Information from you through this method (however, you will not be able to
    ‘unshare’ the Business Information you have previously provided to ZoomInfo).

    You may also communicate your opt-out request to ZoomInfo by telephone or postal mail by using
    the contact information at the bottom of this Policy.



    VI. How Do We Keep Your Information Secure?
    The security of your information is important to us. When you enter sensitive information (such as a
    credit card number) on our registration forms, we encrypt that information using secure socket
    layer technology (SSL).

    We follow generally accepted industry standards to protect the information submitted to us, both
    during transmission and once we receive it. However, no method of Internet transmission or
    electronic storage is 100% secure. Therefore, while we strive to use commercially acceptable
    means to protect your information, we cannot guarantee its absolute security.



    VII. Data Retention
    We will retain your information for a period of time consistent with the original purpose(s) for


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    which we collected it, as described in this Privacy Policy. We will retain your information (i) for as
    long as we have an ongoing relationship with you and as needed to provide you Services; (ii) as
    necessary to comply with our legal obligation(s); (iii) as necessary to resolve disputes or to protect
    ourselves from potential future disputes; or (iv) as necessary to enforce our agreements. Retention
    periods will be determined taking into account the amount, nature, and sensitivity of your
    information and the purpose(s) for which it was collected. After the retention period ends, we will
    delete your information. Where we are unable to do so, we will ensure that appropriate measures
    are put in place to prevent any further use of your information.



    VIII. Links to Other Sites
    This Site contains links to other sites that are not owned or controlled by ZoomInfo. We are not
    responsible for the privacy practices of such other sites. When you leave our Site, we encourage
    you to be aware and to read the privacy statements of each and every website that collects
    personally identifiable information. This Policy applies only to information collected by this Site or in
    the method(s) otherwise discussed herein.



    IX. Social Media Widgets
    Our Site includes social media features, such as the Facebook “Like” button and “Widgets,” such as
    the “Share” button or interactive mini-programs that run on our Site. These features may collect
    your IP address, which page you are visiting on our Site, and may set a cookie to enable the feature
    to function properly. Social media features and widgets are either hosted by a third party or
    hosted directly on our Site. Your interactions with these features are governed by the privacy
    policy of the company providing it.



    X. Information for Users in Europe and Elsewhere
    Outside the U.S.
    If you use our Site outside of the United States, you understand that we may collect, process, and
    store your personal information in the United States and other countries in which we or our
    affiliates or subcontractors maintain facilities. The laws in the U.S. regarding personal information
    may be different from the laws of your state or country.

    A. Users in the European Union (EEA), the UK, and Switzerland

    If you are a resident of the EEA, the UK, or Switzerland, the following information applies.

    Purposes of processing and legal basis for processing: As explained above, we process personal
    information in various ways depending upon your use of our Sites. We process personal
    information on the following legal bases:



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    1    with your consent;

    2 as necessary to perform our agreement to provide Services;

    3 as necessary for compliance with a legal obligation to which we are subject; and

    4 as necessary for our legitimate interests in providing the Sites where those interests do not override
         your fundamental rights and freedom related to data privacy.



    ZoomInfo’s collection of Business Information, and the creation and licensing of ZoomInfo’s
    Business Profiles and Directory, are within ZoomInfo’s legitimate interests to organize and make
    available business contact information given the limited impact of this data on an individual’s
    private life and that this information, unlike personal contact details, is widely disclosed. ZoomInfo
    has put in place safeguards to protect personal privacy and individual choice, including disclosures
    of its data processing activities, the use of consent or opt-outs wherever possible, and the
    implementation of a privacy center: /about-zoominfo/privacy-center.

    Right to lodge a complaint: Users that reside in the EEA, the UK, or Switzerland have the right to
    lodge a complaint about our data collection and processing actions with the supervisory authority
    concerned. Contact details for data protection authorities are available here.

    Transfers: Personal information we collect may be transferred to, and stored and processed in, the
    United States or any other country in which we or our affiliates or subcontractors maintain
    facilities. Per the applicable requirements of the General Data Protection Regulation (“GDPR”), we
    will ensure that transfers of personal information to a third country or an international organization
    are subject to appropriate safeguards as described in Article 46 of the GDPR, such as the EU
    Standard Contractual Clauses. Please see “Privacy Shield Frameworks” below regarding our
    compliance with the EU- and Swiss-US Privacy Shields.

    Individual Rights: If you are a resident of the EEA, the UK, or Switzerland, you are entitled to the
    following rights under the GDPR. Please note: In order to verify your identity, we may require you to
    provide us with personal information prior to accessing any records containing information about
    you.

    • The right to access, correction, and restriction of processing. You have the right to request access to,
        and a copy of, your personal information at no charge, as well as certain information about our
        processing activities with respect to your data. You have the right to request correction or completion
        of your personal information if it is inaccurate or incomplete. You have the right to restrict our
        processing if you contest the accuracy of the data we hold about you, for as long as it takes to verify its
        accuracy.

    • The right to data portability. You have the right to ask for a copy of your data in a machine-readable
        format. You can also request that we transmit your data to another entity where technically feasible.

    • The right to request data erasure. You have the right to have your data erased from our Site if the data
        is no longer necessary for the purpose for which it was collected, you withdraw consent and no other

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       legal basis for processing exists, or your fundamental rights to data privacy and protection outweigh
       our legitimate interest in continuing the processing.

    • The right to object to our processing. You have the right to object to our processing if we are
       processing your data based on legitimate interests or the performance of a task in the public interest
       as an exercise of official authority (including profiling); using your data for direct marketing (including
       profiling); or processing your data for purposes of scientific or historical research and statistics.

    When ZoomInfo is a Controller. ZoomInfo acts as a data controller when we collect and use
    information about data subjects who are visitors to our Site, as well as when we collect and use
    information about data subjects for purposes of creating and maintaining our Business Profiles and
    providing the Services. ZoomInfo’s Data Protection Officer can be contacted by email at
    privacy@zoominfo.com.

    When ZoomInfo is a Processor. When our customers use our Services, they are acting as the data
    controller and are responsible for ensuring that personal information collected about data subjects
    is being processed lawfully. In those circumstances, we are acting as the data processor, and
    receive personal information as agents of our customers merely for processing as instructed by
    our customers. Our customers are solely responsible for determining whether and how they wish
    to use our Services, and for ensuring that all third-party individuals that are a visitor to or user of a
    website, application, or service on which a customer uses our Services have been provided with
    adequate notice regarding the processing of their personal information, have given informed
    consent where such consent is necessary or advised, and that all legal requirements applicable to
    the collection, use, or other processing of personal information through our Services have been
    met by such customers. Our customers are also responsible for handling data subject rights
    requests under appliable law, by their users and other individuals whose data they process through
    the Services. ZoomInfo’s obligations with respect to personal information for which we are solely a
    data processor are defined in our agreements with our customers and are not covered by this
    Policy.

    B. The General Data Protection Regulation (“GDPR”) 2016/679

    ZoomInfo endeavors to comply with the provisions of the GDPR as to any information in its
    possession regarding European Union-based persons (“data subjects”). As such, ZoomInfo only
    processes personal information on data subjects where it has a lawful basis to do so, which may
    include the consent of the person (especially in the case of website visitors who provide their
    information), performance of a contract, compliance with a legal obligation, or the legitimate
    interest of the controller or a third party. ZoomInfo provides notice to all data subjects as required
    by GDPR Article 13 or 14, as appropriate, and honors the rights of data subjects provided in Articles
    12-23, including the right to be forgotten. For any opt-out requests or other inquiries related to
    privacy, please visit our privacy center at /about-zoominfo/privacy-center or
    email remove@zoominfo.com.

    In the course of obtaining data to be included on the Site, if ZoomInfo obtains Business Information
    regarding an individual that ZoomInfo has reason to believe is based in the European Union,


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    ZoomInfo will provide such individual with a notice detailing the information ZoomInfo has on such
    person, the purpose for which it will be used, and informing such person of their rights with
    respect to such information, including the right to know what information ZoomInfo possesses on
    them, to correct such information, or to opt out of data collection entirely. Such persons may opt
    out of the ZoomInfo database by visiting /update/remove or emailing remove@zoominfo.com.

    C. Privacy Shield Frameworks

    While ZoomInfo continues to be certified by and adhere to the principles of the Privacy Shield
    Frameworks, in light of the Court of Justice of the European Union decision regarding the legal
    effect of the EU-US Privacy Shield Framework, ZoomInfo does not rely upon the Frameworks to
    ensure the lawful transfer of data from EEA to non-EEA countries.

    ZoomInfo complies with the EU-US Privacy Shield Framework and Swiss-U.S. Privacy Shield
    Framework as set forth by the US Department of Commerce regarding the collection, use, and
    retention of personal information transferred from the European Union and Switzerland to the
    United States. ZoomInfo has certified to the Department of Commerce that it adheres to the
    Privacy Shield Principles. If there is any conflict between the policies in this Policy and the Privacy
    Shield Principles, the Privacy Shield Principles shall govern. To learn more about the Privacy Shield
    program, any rights you may have to binding arbitration before a Privacy Shield Panel, and to view
    our certification page, please visit https://www.privacyshield.gov.

    For information received under the Privacy Shield, ZoomInfo will require third parties to whom we
    disclose personal information to safeguard that personal information consistent with this Policy by
    contract, obligating those third parties to provide at least the same level of protection as is
    required by the Privacy Shield Principles. EU and Swiss citizens may choose to opt-out of such
    disclosures. ZoomInfo may have liability to you in case of failure to comply with the law or this
    policy in handling onward transfer of your information to third parties.

    In compliance with the Privacy Shield Principles, ZoomInfo commits to resolve complaints about
    your privacy and its collection or use of your personal information. European Union or Swiss
    individuals with inquiries or complaints regarding this Policy should first contact ZoomInfo
    at privacy@zoominfo.com. European Union and Swiss individuals have the right to access their
    personal information.

    ZoomInfo further has committed to refer unresolved privacy complaints under the Privacy Shield
    Principles to JAMS (Judicial Arbitration & Mediation Services), an independent alternative dispute
    resolution provider located in the United States and recognized for this purpose by the US
    Department of Commerce. If you do not receive timely acknowledgment of your complaint, or if
    your complaint is not satisfactorily addressed, please visit https://www.jamsadr.com/eu-us-
    privacy-shield for more information, and to file a complaint.

    The Federal Trade Commission has enforcement authority regarding ZoomInfo’s compliance with
    the Privacy Shield Principles.




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    XI. Your California Privacy Rights
    If you are a California resident, California law permits you to request certain information regarding
    the disclosure of your personal information by us to third parties for the third parties’ direct
    marketing purposes. To make such a request, please send your request, by mail or email, to the
    address at the end of this Policy under the “Contact Us” section.



    XII. Do Not Track Signals
    Your browser or device may include ‘Do Not Track’ functionality. Our information collection and
    disclosure practices, and the choices that we provide to visitors, will continue to operate as
    described in this Policy, whether or not a Do Not Track signal is received.



    XIII. Children’s Privacy
    Our Site is not directed to or intended for individuals under the age of 16. We do not knowingly
    collect or use any personal information from users of our Site who are under the age of 16. No
    personal information should be submitted to our Site by individuals who are under 16 years of age.
    If we learn that we have collected information from someone who is under 16, we will take steps to
    delete the personal information as soon as possible. If you believe we may have collected personal
    information from someone under 16, please contact us at privacy@zoominfo.com.



    XIV. Changes to this Policy
    ZoomInfo reserves the right to modify this Policy from time to time, so please review it regularly. If
    we make material changes to this policy, we will notify you here, by email, and/or by means of a
    notice on our homepage prior to the changes becoming effective. Your continued use of the Site
    after any updates to this Privacy Policy constitutes your acceptance of the updated Privacy Policy.



    XV. Non-Privacy Shield Related Questions or
    Complaints
    If you have an unresolved data privacy or data use concern that we have not addressed
    satisfactorily, please contact our U.S.-based third-party dispute resolution provider (free of
    charge) at https://feedback-form.truste.com/watchdog/request.



    XVI. Contact Us
    If you have questions or concerns regarding this Privacy Policy, please contact us at:

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    ZoomInfo
    Attn: Privacy
    805 Broadway, Suite 900
    Vancouver, WA 98660
    360-718-5630
    Email: privacy@zoominfo.com

    Frequently Asked Questions

    Want to learn more about ZoomInfo? Check out some of our FAQs. From trustworthiness and
    safety, to how we collect data, we are committed to answer your top questions:

    • Is ZoomInfo Trustworthy?
    • Is ZoomInfo Safe?
    • How Does ZoomInfo Get My Information?
    • Read All FAQs




                      POPULAR                   C O M PA N Y   B2B              MORE
                      F E AT U R E S                           DATA B A S E     RESOURCES           Free
                                                About Us                                            Trial
                      Sales                                    Our Data         ZoomInfo
                      Solutions                 Our                             Videos
                                                               Data                           Login
                                                Leadership
                      Marketing                                Transparency     Newsroom
                      Solutions                 Investor                                      866.904.9666
                                                               Code of          Engineering
                                                Relations
                      Company                                  Community        Blog
                      Contact                   FAQs
                      Search                                   Verify           COVID-19
                                                Careers        Company          Newsfeed
                      Buyer                                    Data
                      Intent Data               Contact Us                      Recipes for
                                                               Verify Profile   Success
                      CRM Lead                                 Data
                      Enrichment                                                Privacy
                                                               Browse           Center
                                                               Directories
                                                                                Glossary




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